       Case 3:14-cv-00532-NFA Document 83-1 Filed 08/06/14 Page 1 of 34




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION
True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
                                                §    Cause No. 3:14-cv-00532-HTW-LRA
v.                                              §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.                              §

                 SUMMARY JUDGMENT EXHIBITS – VOLUME 1

Exhibit          Description
1                July 24, 2014 Evidentiary Hearing
2                Declaration of Catherine Engelbrecht
                                                                                                                                                          4
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           Case 3:14-cv-00532-NFA Document 83-1
                            NORTHERN DIVISION               1   Filed 08/06/14 TABLE
                                                                                PageOF 2CONTENTS
                                                                                          of 34
                                                                                                                                  EXHIBIT 1
                                                                              2   CATHERINE ENGELBRECHT
 TRUE THE VOTE, JANE COLN, BRANDIE CORRERO,
 CHAD HIGDON, JENNIFER HIGDON, GENE HOPKINS,                                  3    Direct Examination By Mr. Nixon:           ...................24
 FREDERICK LEE JENKINS, MARY JENKINS, TAVISH
                                                                              4    Cross-Examination By Mr. Pizzetta:          .................50
 KELLY, DONNA KNEZEVICH, JOSEPH KNEZEVICH,
 DORIS LEE, LAUREN LYNCH, NORMA MACKEY, ROY
                                                                              5    Cross-Examination By Mr. Sanders           ...................73
 NICHOLSON, MARK PATRICK, JULIE PATRICK,
 PAUL PATRICK, DAVID PHILLEY, GRANT SOWELL,                                   6    Cross-Examination By Mr. Wallace:           .................76
 SYBIL TRIBBLE, LAURA VANOVERSCHELDE, AND
 ELAINE VECHORIK                                            PLAINTIFFS        7      Exhibits D-1 AND D-2         ............................82
 v.                                 CIVIL ACTION NUMBER 3:14CV532-NFA         8      Exhibit D-4       .....................................89
 THE HONORABLE DELBERT HOSEMANN, IN HIS                                       9    Cross-Examination By Mr. Teeuwissen:          ...............94
 OFFICIAL CAPACITY AS SECRETARY OF STATE FOR
 THE STATE OF MISSISSIPPI, THE REPUBLICAN PARTY                              10    Cross-Examination By Mr. Slay:       .....................97
 OF MISSISSIPPI, COPIAH COUNTY, MISSISSIPPI
 ELECTION COMMISSION, HINDS COUNTY,                                          11    Redirect Examination By Mr. Nixon:          ................100
 MISSISSIPPI ELECTION COMMISSION, JEFFERSON
 DAVIS COUNTY, MISSISSIPPI ELECTION                                          12   KIM TURNER
 COMMISSION, LAUDERDALE COUNTY,
 MISSISSIPPI ELECTION COMMISSION, LEAKE                                      13    Direct Examination By Mr. Nixon:           ..................102
 COUNTY, MISSISSIPPI ELECTION COMMISSION,
 MADISON COUNTY, MISSISSIPPI ELECTION                                        14    Cross-Examination By Mr. Pizzetta:          ................130
 COMMISSION, RANKIN COUNTY, MISSISSIPPI
 ELECTION COMMISSION, SIMPSON COUNTY,                                        15      Exhibits D-5 AND D-6         ...........................140
 MISSISSIPPI ELECTION COMMISSION, AND
 YAZOO COUNTY, MISSISSIPPI ELECTION COMMISSION              DEFENDANTS       16    Cross-Examination By Mr. Sanders:          .................143

                                                                             17      Exhibit D-7       ....................................143
                           EVIDENTIARY HEARING
                                                                             18    Redirect Examination By Mr. Nixon:          ................146

                                                                             19    Cross-Examination By Mr. Wallace:          .................162
                 BEFORE THE HONORABLE NANCY F. ATLAS
                     UNITED STATES DISTRICT JUDGE                            20    Further Direct Examination By Mr. Nixon:           .........162
                            JULY 24TH, 2014
                         JACKSON, MISSISSIPPI                                21    Cross-Examination By Mr. Slay:       ....................164
 REPORTED BY:  MARY VIRGINIA "Gina" MORRIS, RMR, CRR                         22   PHILLIP C. HARDING
               Mississippi CSR #1253
 _________________________________________________________                   23    Direct Examination By Mr. Hogue:           ..................166

                  501 E. Court Street, Suite 2.500                           24      Exhibit P-9       ....................................176
                    Jackson, Mississippi 39201
                           (601) 608-4187                                    25    Cross-Examination By Mr. Pizzetta:          ................177

                                                                         5                                                                                6

 1    ROY W. NICHOLSON                                                        1      (COURT CALLED TO ORDER)

 2     Direct Examination By Ms. McDanald:     ...............180             2            THE COURT:     Please be seated.      Good morning.

 3     Cross-Examination By Mr. Slay:     ....................188             3      (ALL RESPONDED "Good morning")

 4    ELLEN SWENSEN                                                           4            THE COURT:     I'm happy to be here in Jackson,

 5     Direct Examination By Ms. McDanald:     ...............196             5   Mississippi.   This is the case of True the Vote, and others

 6       Exhibit P-4      ....................................209             6   against The Honorable Delbert Hosemann, or Hoseman, in his

 7       Exhibit P-10      ...................................210             7   official capacity as Secretary of State and then others.            Would

 8       Exhibit P-5      ....................................210             8   counsel please state your appearances.         And I need to hear from

 9     Cross-Examination By Mr. Matheny:     .................213             9   plaintiffs first.

10       Exhibit P-11      ...................................224            10            MR. NIXON:     Good morning, your Honor.      I'm Joe Nixon

11     Cross-Examination By Mr. Webb     .....................226            11   from Houston, and I represent the plaintiff.         If I could -- do

12     Cross-Examination By Mr. Wallace:     .................238            12   you want me to introduce our team?

13       Exhibit P-12      ...................................240            13            THE COURT:     I'd like them to speak.

14     Redirect Examination By Ms. McDanald:     .............241            14            MR. NIXON:     Thank you.

15    JULIE PATRICK                                                          15            MS. McDANALD:    Kristen McDanald for the plaintiff.

16     Direct Examination By Ms. McDanald:     ...............243            16            MR. HOGUE:     Your Honor, I am Eades Hogue, also for the

17     Cross-Examination By Mr. Wallace:     .................254            17   plaintiffs.

18    Plaintiff rests    .....................................255            18            MR. TRAINOR:     Your Honor, Trey Trainor for the

19    Argument by Mr. Nixon     ...............................261           19   plaintiffs.

20    Argument by Mr. Pizzetta     ............................281           20            MS. LEONARD:     Your Honor, Kelly Leonard for the

21    Argument by Mr. Wallace    .............................310            21   plaintiffs.

22    Argument by The Court     ...............................313           22            THE COURT:     Okay.    Defense.

23    Argument by Mr. Sanders    .............................326            23            MR. PIZZETTA:    Good morning, your Honor.       I am

24    Argument by Mr. Slay    ................................331            24   Assistant Attorney General Harold Pizzetta here on behalf of

25    Continuing Argument by Mr. Nixon    ....................334            25   Secretary of State Delbert Hosemann.
                                                                                24                                                                              25

 1   too.                     Case 3:14-cv-00532-NFA Document 83-1 FiledTHE
             We also have our official client representative in place
                                                               1         08/06/14     Page
                                                                            COURT: Keep      3 of 34
                                                                                        your voice up and be a little closer

 2   of Secretary Hosemann, Kim Turner, who is designated as a                        2   to the mic, please.      You're the president and what?

 3   witness by the other side; but we'd like her to remain as our                    3   A.   The founder.

 4   representative.                                                                  4               THE COURT:   Founder.

 5               MR. NIXON:     No objection, your Honor.                             5   BY MR. NIXON:

 6               THE COURT:     She may remain.    Okay.   So if you're a             6   Q.   What is True the Vote?

 7   witness and not the designated representative for the defense,                   7   A.   True the Vote is a nonpartisan, nonprofit organization, the

 8   step out.     Thank you.    All right.    Would you step up to the               8   nation's largest voters rights and election integrity

 9   witness box, please, Ms. -- is it Engelhart?          Engelbrecht?               9   organization.

10               THE WITNESS:    Engelbrecht, yes, ma'am.                            10   Q.   Are you active in the state of Mississippi?

11               THE COURT:     And raise your right hand.                           11   A.   Yes.

12          (WITNESS SWORN)                                                          12   Q.   Are you active in other states?

13               THE COURT:     Would you state and spell your whole name            13   A.   Yes.

14   for the record, please.                                                         14   Q.   How many states?

15               THE WITNESS:    Yes, ma'am.      Catherine Engelbrecht,             15   A.   Well, we have volunteers in all 50 states.

16   C-A-T-H-E-R-I-N-E, last name, E-N-G-E-L-B-R-E-C-H-T.                            16   Q.   Could you describe the activities of True the Vote?

17               THE COURT:     You may proceed.                                     17   A.   Yes.   True the Vote essentially does three things.        We

18                            CATHERINE ENGELBRECHT,                                 18   provide training for volunteers -- for citizens who want to

19   having first been duly sworn, testified as follows:                             19   serve as volunteers inside of the elections process.        And there

20                               DIRECT EXAMINATION                                  20   are so many ways that citizens can get involved.        So we

21   BY MR. NIXON:                                                                   21   encourage that.     We provide research, looking at voter rolls

22   Q.     Ms. Engelbrecht, what is your relationship with True the                 22   and, frankly, to try to do what we attempted to do here in

23   Vote?                                                                           23   Mississippi, is just to verify the veracity --

24   A.     I'm the president and founder.                                           24               THE COURT:   Speak a little slower.    I don't know how

25   Q.     What is True the Vote?                                                   25   the court reporter is possibly going to get this down.          Go

                                                                                26                                                                              27

 1   ahead.                                                                           1   A.   Yes, sir.    We sent -- I sent letters to all four via e-mail

 2   A.     Absolutely.   Well, we provide training to citizens who want              2   and fax to let them know that we'd be glad to talk with them or

 3   to participate in elections.       We provide research, looking at               3   work with them or, you know, anything.

 4   the nation's voter files, which are public record, and                           4   Q.   You were offering your services of True the Vote to each of

 5   encouraging citizens to look at their own county's voter files,                  5   the campaigns in order to help them make sure that the vote was

 6   their own local voter files, to determine the accuracy, the                      6   valid?

 7   veracity of the registry.                                                        7   A.   Well, or just to -- we can't work directly with the

 8          And then we provide support just for people who are                       8   campaign, but just to let them know that we were there and, you

 9   concerned about election integrity in their communities.              We         9   know, there would be -- there are interested people who would

10   provide assistance with voter registration, assistance to                       10   be willing to work with them if that was, you know, something

11   people who need identification in states where they require                     11   that those parties would be interested in.

12   identification.      So that's -- that's really the fullness of it.             12   Q.   As part of your efforts on True the Vote, did you ask for

13   Q.     Do you provide training to your volunteers?                              13   records prior to the June 26th GOP runoff?

14   A.     Yes, sir.                                                                14   A.   Let me think about that.       Well, we have the state's voter

15   Q.     Why did you come to Mississippi?                                         15   files, yes.      So we did have those records already in place.

16   A.     Well, initially, we came because we were -- we were                      16   And we were trying to determine what else we would be able

17   receiving an onslaught of inquiries to us from Mississippi                      17   to -- to look at.

18   voters saying they're concerned about what they had just                        18   Q.   Did you go to three counties?

19   experienced in the primary and were concerned about whether or                  19   A.   Yes.

20   not their vote would be counted based upon things that they                     20   Q.   Which counties?

21   felt like they saw.        And so we really came just to see whether            21   A.   Well, I went to Hinds and to Rankin and to Panola.

22   or not there was any fact to that.                                              22   Q.   And what did you ask of Hinds County?

23   Q.     When you came, did you notify both the McDaniel and the                  23   A.   Well, in Hinds County I asked for the -- I'd like to see --

24   Cochran campaigns, as well as the state GOP and then the                        24   I asked if I could see the absentee ballot applications and

25   Democrat candidate campaign?                                                    25   envelopes.
                                                                         28                                                                             29

 1                THE COURT:   Case   3:14-cv-00532-NFA
                                What was the last county you went Document
                                                                  to?      83-1
                                                                            1  A. Filed  08/06/14 Page 4 of 34
                                                                                   Yes, sir.

 2   Hinds, Rankin and what?                                                   2   Q.   Was anything redacted?

 3                MR. NIXON:     Panola.                                       3   A.   No.

 4   A.   Panola.                                                              4   Q.   Okay.     Birth dates.    You had birth dates in there?

 5                THE COURT:     Panola?                                       5   A.   I believe so.

 6                MR. NIXON:     P-I-N --                                      6   Q.   Okay.     Very good.     Does True the Vote create a bad counties

 7                MR. SANDERS:    No, P-A-N-O-L-A.                             7   report?

 8                MR. NIXON:     I'll leave it to (indicating) for the         8   A.   Yes.

 9   spelling.                                                                 9   Q.   What is a bad counties report?

10                THE COURT:     Okay.     Thank you.                         10   A.   A bad counties report is -- the last one we did was in

11   BY MR. NIXON:                                                            11   2012, where we took 2012 voter registration records at the

12   Q.   Did you also go -- well, did you make any request of Rankin         12   state level and compared it to census data and determined which

13   County?                                                                  13   counties had in excess of 100 percent of their eligible

14   A.   Yes, a similar request, just asked to see absentee ballot           14   populations registered to vote.

15   applications and envelopes.                                              15                THE COURT:     And when was the census that you compared

16   Q.   Was your request granted or denied?                                 16   it to?

17   A.   Denied.                                                             17   A.   The 2010.

18   Q.   In Hinds County, was it granted or denied?                          18                THE COURT:     2010.   And when did you do the comparison?

19   A.   Denied.                                                             19   A.   2010 --

20   Q.   And what request, if any, did you make of Panola County?            20                THE COURT:     What election?

21   A.   In Panola, I asked to see the report of Republican voters           21   A.   2010 to the 2012 registration records.

22   in the primary, an electronic version, sort of like the poll             22                THE COURT:     Okay.   So there was two years'

23   book, if you will, without the signatures, but just the voting           23   difference --

24   record.      And that was provided via e-mail.                           24   A.   Yes.

25   Q.   Okay.     And it was provided digitally to you?                     25                THE COURT:     -- in the --

                                                                         46                                                                             47

 1   A.   Yes.                                                                 1   Q.   -- Jones County.       Was it -- okay.   Very good.   Do you have

 2   Q.   Is this the type of report that you asked your volunteers            2   incident reports for all of the teams that went out?

 3   to fill out?                                                              3   A.   Yes.

 4   A.   Yes.                                                                 4   Q.   Is that the folder that's in front of you today?

 5   Q.   Just to describe what happened.                                      5   A.   Yes, although I thought there were more, but yeah.

 6   A.   Right.                                                               6   Q.   Now, you did not sue all of the counties for whom you had

 7   Q.   And then do they return the report back to you?                      7   contact?

 8   A.   Yes.                                                                 8   A.   No.

 9   Q.   And do you keep the report in the course and scope of your           9   Q.   Why not?

10   business?                                                                10   A.   Well, there -- there were so many incident reports that

11   A.   Yes.                                                                11   came back, and it just became a function of time and

12   Q.   And is it in the function of True the Vote and your                 12   consideration of, you know -- frankly, of whose -- whose

13   function as president of True the Vote to keep incident                  13   experiences most clearly showed what we were experiencing

14   reports?                                                                 14   statewide and --

15   A.   Yes.                                                                15   Q.   Did some of the counties cooperate and provide you with --

16   Q.   And why do you do that?                                             16   A.   Yes.    Yes.

17   A.   Well, because it becomes sort of part of the archive of             17   Q.   With regard to the voter poll book and the voter rolls,

18   what happened, and it gives us a clear indication of what did            18   both of those two items that we've been talking about, is that

19   or didn't occur and then -- that's it.                                   19   information available now electronically?

20   Q.   Is this a true and correct copy of the original incident            20   A.   The voter rolls are available electronically, but poll

21   report filled out by Ms. Morse?                                          21   books are not.

22   A.   It appears to be.                                                   22   Q.   Okay.

23   Q.   And was it filled out at the time of their visit to the             23   A.   To the best of my knowledge.

24   specific county?      I believe --                                       24   Q.   Is the information from the poll book recorded now on the

25   A.   Yes.                                                                25   voter rolls, so if we were to get a voter roll from Mississippi
                                                                                48                                                                               49

 1                            Case 3:14-cv-00532-NFA Document 83-1
     today, would it have the information as to who voted in the
                                                               1  BY Filed  08/06/14 Page 5 of 34
                                                                     MR. NIXON:

 2   primary on the voter rolls?                                                      2   Q.    -- where you have more registered voters than you have

 3               MR. PIZZETTA:    Objection.      Lack of foundation.    Calls        3   eligible population.       Nationally, what is about the average of

 4   for speculation.                                                                 4   registered voters to the eligible population?

 5               THE COURT:     Sustained.    It sounds like she doesn't              5   A.    On average, about 72 percent.

 6   know.                                                                            6   Q.    How many counties in Mississippi have more registered

 7               MR. NIXON:     Okay.    We'll get that from the Secretary            7   voters, when you last ran your numbers, than they did

 8   of State.                                                                        8   eligible -- citizens eligible to vote?

 9   BY MR. NIXON:                                                                    9   A.    15 counties.

10   Q.   Are you asking for the -- also for access to the military                  10   Q.    15 counties.    Out of 82?

11   and oversea vote applications?                                                  11   A.    Yes, sir.

12   A.   Yes, the UNOCAVA.      Yes, sir.                                           12   Q.    Okay.

13               THE COURT REPORTER:        I'm sorry.    The what?                  13                 MR. NIXON:   I will pass the witness.

14   A.   Yes, UNOCAVA.       It's U-N-O-C-A-V-A.        It's just a turn of         14                 THE COURT:   Cross.

15   phrase, I guess, for military ballot applications.                              15                 MR. PIZZETTA:   Your Honor, do you want us to be heard

16               THE COURT:     That's the name of the statute, isn't it?            16   on the evidentiary issue about this document?          It wasn't -- he

17   A.   Yes.                                                                       17   didn't move it into evidence.          I imagine he wants to move it at

18               THE COURT:     Solid caps, for the record.                          18   some point in time.        How do you want to handle --

19               MR. NIXON:     One last thing before I pass the witness             19                 THE COURT:   I'm going to wait on the evidence -- the

20   and we get on to some of the -- because I think some of the                     20   final evidentiary rulings until I've heard the evidence from

21   other witnesses will be able to fill in the gaps.                               21   all of the witnesses.         We have a chicken-and-an-egg problem.

22   BY MR. NIXON:                                                                   22   I'm just figuring he's going to try to tie it up with the next

23   Q.   You talked about that bad incident -- bad counties reports.                23   -- with the witness who wrote the document.           If he does not do

24               THE COURT:     Bad -- bad --                                        24   it at the end of the hearing, yes, you will be heard.

25               MR. NIXON:     Counties.    Bad counties.                           25                 MR. PIZZETTA:   Thank you, your Honor.

                                                                                94                                                                               95

 1               THE COURT:     I don't really care.       Please move on.            1   Hinds County?

 2               MR. WALLACE:    We're done, your Honor.        Thank you.            2   A.    Not specifically, no.

 3               THE COURT:     All right.    Any further questions for this          3   Q.    Are you aware there are two judicial districts in Hinds

 4   witness?                                                                         4   County?

 5               MR. TEEUWISSEN:        Pieter Teeuwissen for Hinds County            5   A.    Not specifically, no.      But, I mean, that doesn't surprise

 6   Election Commission.       I'll be brief, your Honor.                            6   me.

 7               THE COURT:     You may proceed.                                      7   Q.    I'm trying to find out where you went, and you gave us a

 8                                CROSS-EXAMINATION                                   8   vague description.

 9   BY MR. TEEUWISSEN:                                                               9   A.    Okay.

10   Q.   Ms. Engelbrecht, I want to make sure I clarify your                        10   Q.    Maybe you can tell us who you spoke to.

11   knowledge.    You said you had some personal knowledge or                       11   A.    I didn't get her name.        I mean, I signed the registry book,

12   personal involvement with Hinds County.             And did I understand        12   if that's any help.

13   your testimony correctly that the Thursday, Friday or Monday                    13   Q.    Not to me.     I didn't even know there was a registry book.

14   before the June 24th election you went to Hinds County?                         14   I've been practicing for 24 years.

15   A.   Yes, sir.                                                                  15   A.    Well, I didn't know there were two judicial districts.        So

16   Q.   And where did you go?                                                      16   we're even.

17   A.   Into the courthouse into a room, I believe -- or an area I                 17   Q.    Okay.    So you didn't get the name of the person that you

18   believe was marked either the "Circuit Clerk" or it had on the                  18   went to on the day you're not sure -- at the courthouse you're

19   doors "Election Information."           There was some confusion even           19   not sure where it's located.         Did you talk to the same -- did

20   into where we should be directed.           So I don't recall the exact         20   you go more than once?

21   name of the office.                                                             21   A.    No.

22   Q.   Which courthouse did you go to?                                            22   Q.    Do you know if the person you spoke with worked in the

23   A.   The main -- I would assume the main courthouse.             I mean,        23   circuit clerk's office or the election commission's office?

24   I'm unfamiliar with -- with all of the courthouses.                             24   A.    I know that the person that I spoke with showed me the --

25   Q.   Are you aware there are two Hinds County courthouses in                    25   the SEMS database and said that she couldn't provide anything
                                                                             96                                                                                   97

 1                             Case 3:14-cv-00532-NFA Document 83-1
     and didn't know how to provide anything and was as nice as she
                                                                1   FiledMR.
                                                                          08/06/14
                                                                             TEEUWISSEN:Page  6 ofinvolvement
                                                                                         Personal   34        in making a

 2   could be but couldn't help.                                                   2   request on Hinds County.

 3   Q.   And the only thing you asked her for from your earlier                   3   A.   Yes.

 4   testimony was absentee ballot applications and envelopes.                     4   BY MR. TEEUWISSEN:

 5   Correct?                                                                      5   Q.   And any other involvement by True the Vote would have been

 6   A.   Yes.                                                                     6   detailed in the submissions that have been submitted to the

 7   Q.   Do you know the name of the circuit clerk in Hinds County?               7   court?

 8   A.   No.                                                                      8   A.   Yes.

 9   Q.   Did you ask to speak with the circuit clerk of Hinds                     9                MR. TEEUWISSEN:       That's all I have, your Honor.

10   County?                                                                      10                MR. SLAY:    Your Honor, if I may.    I'm Craig Slay,

11   A.   No.                                                                     11   Rankin County Election Commission.           I apologize, your Honor.

12   Q.   Do you know the name of any election commissioners in Hinds             12   We -- obviously, we have two counties that involve this witness

13   County?                                                                      13   personally:     Hinds, who we just heard from.        I'm Rankin.    And

14   A.   Not -- no.                                                              14   so I apologize, but I feel like I need to address the witness

15   Q.   Did you ask to speak with the chairwoman or chairman of the             15   with a few questions.

16   election commission of Hinds County?                                         16                THE COURT:    Okay.

17   A.   No.                                                                     17                                CROSS-EXAMINATION

18   Q.   This unidentified person that you spoke to on the                       18   BY MR. SLAY:

19   unidentified day, did you tell that person you were seeking any              19   Q.   I'm Craig Slay.       I work with Rankin County.     My questioning

20   records pursuant to the NVRA?                                                20   will be similar to what you just heard.          On the date that -- we

21   A.   No, not pursuant to the NVRA.                                           21   don't -- I believe your testimony is that you don't recall the

22   Q.   And was this your only personal involvement in making a                 22   date that you went to Rankin County.          It could have been the

23   request upon Hinds County?                                                   23   Thursday, Friday or the Monday prior to the June 24 primary

24   A.   Yes.                                                                    24   election.     Is that correct?

25                THE COURT:     The question was, was this her only?             25   A.   That's correct.

                                                                             98                                                                                   99

 1   Q.   All right.    Do you recall where in Rankin County you went              1   thorough knowledge of the process.

 2   to request the information that you sought?                                   2   Q.   Thank you.

 3   A.   It seemed to be an annex-type building that went in the                  3   A.   And, again, was as nice as she could be.

 4   front, and there were a number of people there, very --                       4   Q.   And to speed this along, you testified earlier that you

 5   seemingly very engaged in all kinds of election, you know,                    5   asked for the absentee ballot applications and the envelopes?

 6   proceedings.                                                                  6   A.   Yes.

 7   Q.   Do you recall who you spoke with?                                        7   Q.   Did you ask for any other documents from Becky?

 8   A.   We spoke with many people there, but specifically with                   8   A.   No, but I will say that she gave us -- I was with one other

 9   Becky Boyd, I believe her last name is.        Is that --                     9   person, and she gave us sample documents or blank documents so

10   Q.   Okay.    You recall speaking to somebody named Becky?                   10   that we would be able to familiarize ourselves with the

11   A.   I believe so.        Yes.                                               11   absentee ballot application, the variety of envelopes that

12   Q.   Okay.    Did you get a business card?                                   12   they're put in.     She was very helpful, to the point that we

13   A.   I did not get a -- there again, I signed the registry                   13   asked for the absentee ballot applications themselves.

14   and...                                                                       14   Q.   Did you ask for any other documents other than what we just

15   Q.   If your Honor will allow, can you describe the lady that                15   listed here?

16   you spoke with, her appearance?                                              16   A.   On -- no, sir.       No, no.    No.

17   A.   Gosh, I would guess late 50's, early 60's, Anglo.       I don't         17   Q.   Did you follow up with any writing of any kind to Rankin

18   recall hair color.        Maybe she wore glasses.   I'm not sure.   I        18   County, whether the election commission, the circuit clerk or

19   mean...                                                                      19   anyone else, with respect to your request having been denied?

20   Q.   Any idea what her responsibility or title is?                           20   A.   We did not, but we -- we sent a letter to the Secretary of

21   A.   I believe she is the circuit clerk, I believe.                          21   State believing that that would be a quicker route to

22   Q.   Becky, circuit clerk.                                                   22   understand what we could and couldn't have.

23   A.   And I -- again, I may -- that may be incorrect, but she                 23   Q.   So your answer is, no, you didn't send any --

24   certainly seemed to have -- she was the one we were directed                 24   A.   Not specifically to Rankin County.          Again, no.

25   to, and she certainly seemed to have knowledge of the process,               25   Q.   Okay.    Same question that Mr. Teeuwissen asked.        When you
                                                                              100                                                                               101

 1                              Case 3:14-cv-00532-NFA Document 83-1
     spoke to this person in Rankin County on whatever day it was1   FiledMR.
                                                                           08/06/14
                                                                              NIXON: No.Page  7 of 34
                                                                                         I'm talking about True the Vote.

 2   that you went, did you invoke -- did you mention the National                   2   Maybe I should --

 3   Voter Registration Act in any way during that conversation?                     3   A.   It's the whole personal knowledge thing, I know.

 4   A.     We talked for an awfully long time, and it's possible -- I               4   BY MR. NIXON:

 5   don't know specifically whether I did or not.                                   5   Q.   When I say "y'all," "y'all," or "True the Vote," does True

 6   Q.     You don't have any recollection of having invoked the                    6   the Vote have birth dates?

 7   federal act?                                                                    7   A.   Yes.

 8   A.     It's entirely possible that I mentioned it.            My                8   Q.   Do you release them at any time anywhere?

 9   understanding of the NVRA is that I don't -- that a citizen                     9   A.   No.

10   does not have to go in and claim under the NVRA, but that it's                 10   Q.   How long has True the Vote collected records?

11   just federal law.                                                              11   A.   Since early 2010.

12                 MR. SLAY:    Your Honor, I have nothing further.                 12   Q.   Okay.

13                 THE COURT:     Anybody else, defense?      Redirect.             13                MR. NIXON:   That's all I have for right now, subject

14                 MR. NIXON:     I just have -- I just have a couple of            14   to her having a chance to review the document.

15   questions for now, subject to her taking a break and looking                   15                THE COURT:   Okay.   Thank you.   Anything else for this

16   at...                                                                          16   witness?     All right.   You're excused, ma'am.    Thank you.    You

17                                REDIRECT EXAMINATION                              17   may step down.     All right.

18   BY MR. NIXON:                                                                  18                We're going to have a break, 15 minutes.    We're going

19   Q.     Birth dates and voting records, do you have birth dates and             19   to go until about 1 or 1:15 and then take a lunch break.          Your

20   voting records?                                                                20   lunch break is directly -- well, I should say is inversely

21   A.     Yes.                                                                    21   proportional to the length of time you take with these next

22   Q.     Have you ever released that information anywhere?                       22   witness or witnesses, inversely.       So -- because I've told

23   A.     No, no.                                                                 23   counsel we need to finish this hearing today.        I'd like to see

24                 THE COURT:     When you say "you," are talking about her         24   counsel up here.     We're off the record.

25   personally?                                                                    25        (RECESS)

                                                                              102                                                                               103

 1                 THE COURT:     Are we ready to go?                                1   Q.   Is it your job function to oversee the elections process

 2                 MR. NIXON:     Yes, your Honor.                                   2   for the State of Mississippi on behalf of the Secretary of

 3                 THE COURT:     Great.    Your next witness.                       3   State?

 4                 MR. NIXON:     That would be Kim Turner, the Assistant            4   A.   Not oversee, no.     Our division is charged with many

 5   Secretary of State for elections for the State of Mississippi.                  5   different obligations and duties, but I would never say

 6          (WITNESS SWORN)                                                          6   "oversee the election."      We provide support.    We're a resource

 7                 THE COURT:     Okay.    Would you state and spell your            7   for election officials and candidates and circuit clerks.          But

 8   whole name for the record, please.                                              8   we have no authority to actually oversee or conduct these

 9                 THE WITNESS:    Sure.     My name is Kim, K-I-M, Turner,          9   elections.     We're a bottom-up state.

10   T-U-R-N-E-R.                                                                   10   Q.   Explain to the court what that means.

11                 THE COURT:     Thank you.    You may proceed.                    11   A.   It means that elections are conducted at the local level.

12                                        KIM TURNER,                               12   So municipal elections are conducted by municipal election

13   having first been duly sworn, testified as follows:                            13   commissioners or municipal executive committee members.          And

14                                 DIRECT EXAMINATION                               14   state and county elections, including federal elections, are

15   BY MR. NIXON:                                                                  15   conducted at the county level.       So our county election

16   Q.     Ms. Turner, my name is Joe Nixon.           I'm a lawyer from           16   commissioners conduct general elections, and our county

17   Houston, Texas.      I know we've not had a chance to talk -- meet             17   executive committees conduct primary elections.

18   yet.     How are you doing today?                                              18   Q.   Are you a lawyer licensed to practice law in any state?

19   A.     I'm fine.    Thank you.                                                 19   A.   In Mississippi.

20   Q.     Tell us your role -- what role you serve in the Secretary               20   Q.   In Mississippi.      Are you familiar with the National Voter

21   of State's Office.                                                             21   Registration Act?

22   A.     I am the Assistant Secretary of State in charge of the                  22   A.   I am.

23   elections division.                                                            23   Q.   Okay.    Are you familiar with the fact that the National

24   Q.     And how long have you had that role?                                    24   Voter Registration Act requires each state designate a chief

25   A.     Two years.                                                              25   election officer for the enforcement of that statute?
                                                                       104                                                                                 105

 1   A.     Yes.            Case 3:14-cv-00532-NFA Document 83-1
                                                             1     Filed 08/06/14 Page 8 of 34
                                                                Act?

 2   Q.     Are you familiar with the fact that the Secretary of State        2   A.     We're talking about two separate issues between the

 3   has been designated as the chief elections officer for the               3   National Voter Registration Act and Mississippi Public Records

 4   State of Mississippi by a statute passed by the Mississippi              4   Act.     And the requests that have been made have been made

 5   Legislature?                                                             5   pursuant to Mississippi Public Records Act, and those are state

 6   A.     Under the NVRA, yes.                                              6   law requests.       It's not for me to guess what the legislature

 7   Q.     Okay.   Are you aware that there were document requests that      7   meant, but it was that that's how our statute is written.

 8   are being made on behalf of True the Vote and individual voters          8   Dates of birth, Social Security numbers, they're exempt from

 9   in Mississippi, are being made pursuant to the National Voter            9   disclosure.

10   Registration Act?                                                       10   Q.     Okay.    Once again, though, is it -- is this whole dispute

11   A.     I am aware, through secondhand knowledge, that public            11   just simply about -- do you think that True the Vote made a

12   records requests were made by people affiliated or associated           12   request under state law, or do you think that it made a request

13   with True the Vote but not necessarily that they were made              13   under federal law?          And if they made a request under federal

14   through the National Voter Registration Act.                            14   law, would that end the lawsuit?

15   Q.     Can we boil this whole issue down to whether or not the          15                  THE COURT:    Okay.   Compound question.   Split it up.

16   State of Mississippi wants to produce birth dates in addition           16   BY MR. NIXON:

17   to the voter registration name, address and unique                      17   Q.     Do you think True the Vote made a request under state law

18   identification numbers?                                                 18   or federal law?

19   A.     I think "want" is a mischaracterization, but it is whether       19   A.     Again, the State of Mississippi has seen no request.           Our

20   or not the State of Mississippi and its subparts is able to             20   office received no request.          Information I received is

21   produce those dates of birth given the Mississippi Public               21   secondhand from circuit clerks' offices or other sources of

22   Records Act and Mississippi Statute 23-15-165.                          22   information.        So I don't have any firsthand knowledge as to

23   Q.     So you believe the State of Mississippi has a right or           23   their public records requests, but the information I have

24   obligation pursuant to its state law to not produce birth dates         24   received indicated it was pursuant to state law.

25   to a request made subject to the National Voter Registration            25   Q.     If you had the understanding that the request was made

                                                                       106                                                                                 107

 1   pursuant to federal statute, would the advice from the                   1   a given precinct on election day.          The voter roll is something

 2   Secretary of State's Office be to produce the information with           2   different.       The voter roll is a complete list of all

 3   the birth dates?                                                         3   Mississippi voters and all status categories.

 4   A.     It would depend on the particular information sought.             4   Q.     Would the voter roll include active voters?

 5   Q.     And what would be the difference?                                 5   A.     Yes.

 6   A.     Well, not all information and documentation related to the        6   Q.     Would the voter roll include any kind of designation of who

 7   entire election process is subject to the National Voter                 7   is an active voter and who is a suspense voter?

 8   Registration Act.                                                        8   A.     There is no such thing as a suspense voter.         It would

 9   Q.     Which documents do you believe are not subject to the             9   indicate voters in different statuses.          We have five statuses:

10   National Voter Registration Act?                                        10   active, inactive, purged, rejected and pending.

11   A.     There's quite a number of documents.     You've mentioned --     11                  THE COURT:    Would it do that with the designation?

12   poll books are not subject to the National Voters Registration          12   A.     Yes, ma'am.

13   Act.                                                                    13                  THE COURT:    In other words, by each name it would

14   Q.     Are poll books relevant to maintaining accurate voter            14   reflect this person's active, the next person is inactive, the

15   rolls?                                                                  15   third person is suspended, or whatever?

16   A.     No.                                                              16   A.     It would indicate the status of each voter, yes, ma'am.

17   Q.     What is, in your opinion, a poll book?                           17   BY MR. NIXON:

18   A.     According to law, a poll book is a list of those voters who      18   Q.     What is the difference between an active and an inactive

19   are eligible to vote in a particular election who are all               19   voter?

20   active, on active status.                                               20   A.     An active voter is eligible to cast a ballot -- a regular

21   Q.     And you do not believe that the -- that the active voter         21   ballot in an election.         An inactive voter is one who has been

22   registration list is subject to the NVRA?                               22   moved to that status by virtue of documentation or information

23   A.     That's two different things.   I didn't say an active voter      23   received that indicates a change of address outside the county

24   registration list.     We talked about the poll books, which            24   or outside the state, pursuant to which they are sent a

25   represents a list of active voters who are eligible to vote in          25   confirmation card pursuant to the NVRA at that time marked
                                                                          108                                                                          109

 1   "inactive."               Case 3:14-cv-00532-NFA Document 83-1
                                                                1     Filed
                                                                   state,    08/06/14
                                                                          so National      Page
                                                                                      Change      9 of 34
                                                                                             of Address information, the counties

 2   Q.   Okay.    So for the court's edification, is -- you would mail          2   will send the confirmation card, and at that time, yes, marks

 3   a voter registration card to an individual.        And they are not         3   the voter in an inactive status.

 4   allowed to be forwarded by law.       Right?                                4        The card -- we would like for voters to complete that card

 5   A.   Well, again, for clarification, we wouldn't mail anything.             5   and return it to the counties.      And if the voter does take that

 6   Our counties administer elections.        So our county election            6   action, the information from the card is put into the State

 7   commissioners would identify their voters, and the county                   7   Election Management System, and the voter's returned to an

 8   election commissioners would cause a confirmation card to be                8   active status with updated information.

 9   sent, you're correct, by non-forwardable mail.                              9        If that card is not returned being completed by the voter,

10   Q.   Okay.    And so when a -- and when a voter registration card          10   it's just returned to the county as unable to locate, not

11   is then returned back to the county, then that person is moved             11   deliverable, that voter remains in an inactive status for the

12   from active to inactive status?                                            12   next two federal general elections, after which time if they do

13   A.   Incorrect.                                                            13   not vote, they can be removed or purged from the voter roll, or

14   Q.   Okay.    Explain how that works.                                      14   in our case moved to a purged status.

15   A.   When the confirmation card is sent, the voter's moved from            15   BY MR. NIXON:

16   an active to an inactive status.        In the rare instance a voter       16   Q.   Let's take the situation where a voter registration card is

17   returns that confirmation card to the county election                      17   mailed.      It is returned to the county --

18   commission completed, that voter is moved back to an active                18   A.   Did you say registration card?

19   status and their registration is updated.                                  19   Q.   Well, a voter ID card.     What is used in the State of

20                THE COURT:    So when you send the card, just send a          20   Mississippi to have -- the card that is mailed to the voters?

21   card to anyone who's previously on the voter roll -- not you --            21   A.   When you register to vote?     Is that what you're asking?

22   when the county sends it, the voter is deemed inactive until               22   Q.   Yes.

23   the card is received or something is received back?                        23   A.   When a person registers, they are sent a voter registration

24   A.   When we have -- when the counties have information that               24   card.

25   indicate a change of address, a move outside the county or the             25   Q.   What is the name of the card that we were talking -- we

                                                                          110                                                                          111

 1   were just now talking about?                                                1   A.   They're moved to inactive status upon the sending of the

 2   A.   A confirmation card.                                                   2   card.

 3   Q.   Confirmation card.      A confirmation card -- is a                    3   Q.   Okay.    Now, if they show up and vote in person, are they

 4   confirmation card mailed to every voter each year?                          4   allowed to vote?

 5   A.   No.                                                                    5   A.   Yes.

 6   Q.   Is it -- how often is a confirmation card mailed to a                  6   Q.   Do they have to sign any kind of provisional ballot?

 7   voter?                                                                      7   A.   If they're in inactive status, they vote by an affidavit

 8   A.   Only when there is a trigger -- we refer to it as a trigger            8   ballot, which is a provisional ballot, yes.

 9   under the National Voter Registration Act.        So it's some              9   Q.   And is the affidavit ballot -- do they give their then

10   information, reliable information.        I used the National Change       10   current address?

11   of Address database which we -- all states participate in.                 11   A.   The affidavit ballot envelope asks for different types of

12   When a county receives reliable information that a voter on its            12   information that the voter may fill out, including old address

13   roll has moved outside the county or outside the state, that               13   and new address.

14   trigger prompts the county to send a confirmation card.                    14   Q.   And when they show up to vote, do -- is that information

15   Q.   You use a term National Change of Address database?                   15   maintained on the poll book?

16   A.   Yes, NCOA.                                                            16   A.   No.

17   Q.   Who maintains that?                                                   17   Q.   Do they sign the poll book showing that they have voted?

18   A.   I'm assuming it's the U.S. Post Office.                               18   A.   No one signs the poll book.

19   Q.   Okay.    Are birth dates provided on that database, or do you         19   Q.   Is there any indicia on the poll book that a person voted?

20   know?                                                                      20   A.   No.     Inactive voters, they are on the voter roll; they are

21   A.   I don't know.                                                         21   not in the poll book.

22   Q.   Okay.    All right.     So when you -- when you find out that         22   Q.   Okay.    Only active voters are in the poll book?

23   somebody's moved, you send them a confirmation card.        If -- if       23   A.   Correct.

24   they return it to the county, they're maintained on active.           If   24   Q.   Okay.    All right.   And then the two other categories -- or

25   it's not returned, they're moved to inactive.                              25   three other categories that you mentioned?
                                                                        112                                                                             113

 1   A.                    Case 3:14-cv-00532-NFA Document 83-1
          Pending, purged and rejected.                     1     Filed 08/06/14 Page 10 of 34
                                                                Mississippi.

 2   Q.   What is pending?                                                     2                THE COURT:   Thank you.

 3   A.   Pending is a status for a voter who submits a mail-in voter          3   BY MR. NIXON:

 4   registration application.     And by statute the clerks are               4   Q.   Those voters are not included on the poll books either?

 5   afforded a certain amount of time to obtain additional                    5   A.   They're purged status.

 6   information should they not have received a complete                      6   Q.   And then what's the last?

 7   application.     And people are also put in a pending status to           7   A.   Rejected.

 8   ensure that the address provided with the registration was the            8   Q.   And, obviously, those aren't on the poll book either.

 9   correct address to allow for the time for their card to be sent           9   A.   No.

10   to them, their registration card.                                        10   Q.   But they are on the voter rolls?

11   Q.   Are pending voters listed in the poll books?                        11   A.   Yes.

12   A.   No.                                                                 12   Q.   Okay.

13   Q.   What's the next designation?                                        13                THE COURT:   Can I just go back to the poll books for a

14   A.   Purged.                                                             14   minute, if you don't mind.        Tell us again, the poll books, what

15   Q.   Purged.    What does that mean?                                     15   exactly do they contain?

16   A.   Those are voters who are removed from the voter roll.               16   A.   By statute the poll book will contain the name of the

17   They're placed in a purged status, but they're not ever removed          17   voter, the address, the date of birth, the voter registration

18   but are put in a purged status.        It's for voters who should no     18   number.      And then it will have columns for each applicable

19   longer be eligible to vote by reason of death, adjudication of           19   election.     So with this past election, you had a column for the

20   incompetence, moved, voluntary requests.                                 20   June 3rd primary and a column for the June 24 primary runoff.

21   Q.   Felons?                                                             21   And then there's a bar code at the far right.

22   A.   Not all felons.     Conviction of a disenfranchising crime in       22                THE COURT:   And the poll books contain all active

23   the state of Mississippi.                                                23   voters?      Do they contain --

24              THE COURT:    I couldn't understand one word you said.        24   A.   Correct.

25   A.   Conviction of a disenfranchising crime in the state of              25                THE COURT:   -- inactive?

                                                                        114                                                                             115

 1   A.   No.                                                                  1                THE COURT:   And the election officials are county

 2              THE COURT:    And, obviously, they don't contain purged        2   employees?

 3   voters or rejected voters.                                                3   A.   I'm sorry?

 4   A.   They do not.                                                         4                THE COURT:   Are the election officials to whom you

 5              THE COURT:    And what was the third category,                 5   just referred county employees?

 6   suspended?                                                                6   A.   Election commissioners are elected county officials.

 7   A.   Pending.                                                             7                THE COURT:   Okay.   So what do they look at?

 8              THE COURT:    Pending.     What's "pending" mean?              8   A.   They will look at the -- at the voter roll as a whole to

 9   A.   Pending is -- a simpler way to put it, those people who              9   determine whether or not those voters should have been on the

10   have registered within the 30 days before the election, too              10   voter roll or on the poll book.        And they will determine if the

11   soon.                                                                    11   voter has moved within the county and they're still eligible.

12              THE COURT:    Too recently.                                   12   That means they can still vote as long as they voted in their

13   A.   Too recently to be able to vote in the next election.               13   new precinct.     They look at different -- different things,

14              THE COURT:    All right.    And the poll books do not         14   given the reason -- there's other reasons to cast an affidavit

15   contain any of those three categories of people?                         15   ballot.

16   A.   Only active.    Active voters only.                                 16                THE COURT:   What about the affidavit?   What does it

17              THE COURT:    And what about the inactive?     If an          17   contain?

18   inactive comes to vote, then what?                                       18   A.   The affidavit itself is on the envelope.       And all it asks

19   A.   If an inactive voter comes to vote, their name is not in            19   is for the name of the voter, their date of birth, the last

20   the poll book.      So they will be presented with a paper ballot        20   four of their Social, telephone numbers, old physical address,

21   and allowed to vote an affidavit or provisional ballot, which            21   new physical address, old mailing address, new mailing address,

22   requires the completion of an affidavit ballot envelope, voting          22   which is all optional.      And then they -- the affidavit -- they

23   by paper, the ballot's folded, put in the envelope, sealed, and          23   have to state the reason why they believe they are being asked

24   then put in the ballot box to be counted and evaluated after             24   to cast an affidavit ballot.

25   the election by the election officials.                                  25                THE COURT:   Why they believe they're being asked?
                                                                           116                                                                                117

 1   A.   Correct.         Case 3:14-cv-00532-NFA
                                     A poll manager signs Document
                       And they sign it.                  it. And  83-1
                                                                    1   A. Filed
                                                                            Yes. 08/06/14 Page 11 of 34

 2   then the voter is given their ballot to vote and seal.                       2                THE COURT:    New precinct, you're assuming in the same

 3                THE COURT:   Okay.    You may proceed.                          3   county?

 4                MR. NIXON:   Thank you.                                         4                MR. NIXON:    In the same county.     That's my next

 5   BY MR. NIXON:                                                                5   question.

 6   Q.   In a situation where an active voter shows up to vote but               6   BY MR. NIXON:

 7   reports -- self-reports, "I've moved," what do you -- what                   7   Q.   What happens if they move to a different county?

 8   happens in that situation?                                                   8   A.   They're certainly welcome to cast a ballot.          No voter is

 9   A.   The poll worker will ascertain whether or not their new                 9   ever turned away.         But if they've moved outside of the county

10   residence address still entitles this voter to vote in the                  10   and haven't updated their registration, their vote won't be

11   precinct in which he or she has presented.            If they need to go    11   counted.     But they will vote by an affidavit ballot.

12   to a different precinct, the voter will be sent to the                      12   Q.   So if a voter who lived in county A moves to county B and

13   appropriate precinct for their residence.                                   13   shows back up in county A at the right precinct where he was in

14   Q.   Okay.    So let's assume that they've moved within the same            14   county A and says, I'm on the active roll.          I want to vote, but

15   precinct.     What happens?                                                 15   I want you to know that I've moved to county B, what happens?

16   A.   They are allowed to cast a ballot in the voting machine.               16   He's told to go to county B?

17   Q.   Are they required to provide any information with regard to            17   A.   No.     The poll worker will tell the voter that he or she is

18   their new address?                                                          18   not eligible to vote, given that he or she has moved.          But if

19   A.   No.                                                                    19   that voter is insistent, they are provided an affidavit ballot

20   Q.   If they've moved to a different precinct, tell us what                 20   and they are allowed to vote by an affidavit ballot.

21   happens then.                                                               21   Q.   Is the information then used -- from the affidavit then

22   A.   They'll present to their new precincts, and their name will            22   used to update the voter rolls?

23   not be in that poll book.         So they will be an affidavit voter.       23   A.   Yes.

24   They will vote by an affidavit ballot.                                      24   Q.   Okay.    So is it true to say that the poll books are

25   Q.   The same that you just described to us?                                25   relevant to maintaining accurate voter rolls?

                                                                           118                                                                                119

 1   A.   Not the poll books, no.       The affidavit ballot envelopes,           1   state of Mississippi.

 2   yes, but not the poll books.                                                 2   Q.   So if you reach the age of 65, it doesn't automatically

 3   Q.   Really the whole process.                                               3   trigger the ability to vote by mail?

 4   A.   I don't agree.                                                          4   A.   It entitles certain -- certain categories of absentee

 5   Q.   If you don't vote for two federal election cycles, what                 5   voters may vote absentee by mail, and 65 is included, but there

 6   happens to your name?      If an active voter chooses not to vote            6   is no automatic entitlement to vote by an absentee ballot.

 7   for two federal election cycles, what happens to your name on                7   Q.   Is a -- I may be -- we may be saying the same thing but a

 8   the voter rolls?                                                             8   different way, but I just want to make it clear.           When you

 9   A.   Nothing.                                                                9   reach the age of 65, may you -- may you, as a right of being 65

10   Q.   How many cycles do you go through not voting when you are              10   or older, vote by mail in Mississippi instead of in person?

11   moved from active to inactive?                                              11                THE COURT:    Could I make a suggestion on rephrasing?

12   A.   Your question is unclear.         No one is ever moved from an         12   If you're over -- or you're the age of 65 in Mississippi, are

13   active status by virtue of inactivity.         So it doesn't matter if      13   you eligible to request an absentee ballot, and will you get it

14   you ever vote once you register.         You'll stay active unless          14   automatically upon request?        I think that's the issue.

15   some information or reliable documentation is provided which                15                MR. NIXON:    That's it.

16   indicates the voter's died, been convicted, adjudicated                     16                THE COURT:    I'm not sure.

17   incompetent or moved.                                                       17                MR. NIXON:    That's exactly right.

18   Q.   How old do you have to be to vote in Mississippi?                      18   BY MR. NIXON:

19   A.   18, unless you'll be 18 by the date of the general                     19   Q.   Is that right?

20   election.     Then 17-year-olds are able to vote.                           20   A.   Not quite.

21   Q.   And what date are you allowed to vote absentee                         21                THE COURT:    Okay.

22   automatically?     What age?                                                22   A.   Mississippi has several different categories which enable a

23   A.   It's the same age.                                                     23   voter to vote by an absentee ballot.         Being 65 years of age and

24   Q.   No, by absent -- automatically allowed to vote absentee.               24   older is one category among many.          Being 65 or older also

25   A.   No one is allowed to vote automatically by absentee in the             25   allows that voter to request and receive their absentee ballot
                                                                         120                                                                                121

 1   by mail.                 Case 3:14-cv-00532-NFA Document 83-1
                                                               1   A. Filed 08/06/14 Page 12 of 34
                                                                       Correct.

 2   Q.    I see.    I see.                                                     2   Q.     And that is an issue clearly covered under the NVRA?

 3                 THE COURT:   As opposed to a 64-year-old who might be        3   A.     Yes.

 4   eligible to vote absentee upon request but has to come in and              4   Q.     And that is a public record under the NVRA?

 5   get it?                                                                    5   A.     It is.

 6   A.    Yes.                                                                 6   Q.     So just to make things very clear, with regard to the

 7                 THE COURT:   Personally?                                     7   overseas voters who only use a federal application, if True the

 8   A.    Correct.     We -- we refer to it as in-person absentee              8   Vote were to ask for the overseas voter applications with birth

 9   voting, meaning they have to go to the circuit clerk's office              9   dates, those are maintained by the State of Mississippi

10   in the county of their residence and complete an application.             10   Secretary of State's Office.          Is that correct?

11   And then upon completion of the application, they're provided a           11   A.     No.

12   ballot.       And that's traditionally how absentee voting occurs         12   Q.     Those are maintained by who?

13   but for four categories of voters who may request and receive             13   A.     The individual county circuit clerk offices.

14   absentee ballots by mail in addition to our UOCAVA voters,                14   Q.     Would a citizen who requested that information under the

15   which are -- it's U-O-C-A-V-A -- for the Uniformed and Overseas           15   NVRA be able to obtain the overseas voter applications with the

16   Citizens Absentee Voting Act, which is a separate category of             16   birth dates unredacted?

17   absentee voters.                                                          17   A.     Yes.

18   BY MR. NIXON:                                                             18                  THE COURT:   What was the very last thing, under what?

19   Q.    Does Mississippi register voters both with a Mississippi            19                  MR. NIXON:   Unredacted.

20   registration form and a federal voter registration form?                  20   BY MR. NIXON:

21   A.    We have a Mississippi registration form, and they're on             21   Q.     With regard to voter list maintenance, would whether or not

22   a -- a mail-in registration application form is not required by           22   someone appeared and voted be a reason to keep that person on a

23   federal law.                                                              23   voter registration list?

24   Q.    Okay.    And the federal law, of course, has birth date on          24   A.     You'll need to rephrase your question.

25   it.                                                                       25   Q.     I may have asked it before, and I think I did.         So let me

                                                                         122                                                                                123

 1   ask a different question.       Under the NVRA, is it your                 1   don't know the answer.        If you do or you're interested, you may

 2   understanding that you are required to keep all records                    2   ask.     You don't have to.

 3   concerning voter registration?                                             3                  MR. NIXON:   No, no, no.    I'll ask those questions.

 4   A.    Yes.                                                                 4   And the last one is more of a legal technicality that I think

 5   Q.    Would a poll book fall into a category that -- of all                5   is -- may --

 6   documents that involve voter registration?                                 6                  THE COURT:   If you don't care, I don't care.      I

 7   A.    No.                                                                  7   mean --

 8   Q.    That's what your opinion is?                                         8                  MR. NIXON:   It's covered in our brief, and I do care.

 9   A.    Correct.                                                             9   But to the extent that she says, I know what the law says, then

10   Q.    Okay.    Are you familiar with the Help America Vote Act?           10   I'm not going to --

11   A.    Yes.                                                                11                  THE COURT:   I misheard.    I'm having a terrible time

12   Q.    Okay.    It's a federal statute.                                    12   hearing.       Even though I can hear the words, I just -- I mean

13   A.    Yes.                                                                13   hear the speaking, I'm having trouble because the speech is so

14   Q.    Does the Help America Vote Act dictate that the state and           14   fast.    So I apologize if I'm sounding like I'm behind the

15   not the counties are the repository of voter registrations?               15   curve.        Go ahead.

16   A.    I would have to look.                                               16                  MR. NIXON:   Okay.

17   Q.    Okay.    And you would defer to that act?                           17   BY MR. NIXON:

18   A.    Yes.                                                                18   Q.     Do you know whether or not the Help America Vote Act

19   Q.    Okay.    Now --                                                     19   requires that the State of Mississippi be the -- and not the

20                 THE COURT:   Mr. Nixon, is your last question based on      20   counties be the repository of voter registrations?

21   or does it imply a time frame?                                            21   A.     You're being less detailed.        Counties accept voter

22                 MR. NIXON:   I'm not sure I understand.                     22   registration applications.           They process them.    HAVA

23                 THE COURT:   Well, is it possible -- and you might just     23   requires that we have a statewide voter roll which is

24   want to ask this -- if the state is the repository of voter               24   maintained at the state level.

25   records after a certain point in time after an election.        I         25                  THE COURT REPORTER:    The what requires?
                                                                               124                                                                           125

 1                           Case
                    THE WITNESS:   3:14-cv-00532-NFA
                                HAVA, H-A-V-A, the Help AmericaDocument
                                                                Vote    83-1
                                                                         1     Filed
                                                                             give     08/06/14
                                                                                  us the            Page
                                                                                         technical name, to 13
                                                                                                            the of 34 there is one, under
                                                                                                                extent

 2   Act.                                                                             2   state law or practice in Mississippi.

 3   A.     -- requires there be one centralized voter roll maintained                3   A.   Mississippi allows for two types of registration for a

 4   by the state, which it is.          It's the Statewide Election                  4   normal, average person, which is in person in the circuit

 5   Management System.          So to that end, the state is the repository          5   clerk's office or by a mail-in registration application.        Those

 6   for all voter roll information in that it is the administrator                   6   paper applications are sent to the circuit clerk of the county

 7   of the Statewide Election Management System.             But registration,       7   of residence of the voter.      That information is entered into

 8   by statute, is done at the county level with paper applications                  8   the Statewide Election Management System, including scanning of

 9   retained by the counties and scanned into SEMS, S-E-M-S.                         9   the actual registration application.     Once the information is

10   BY MR. NIXON:                                                                   10   put into SEMS, which is the statewide voter roll, all voters

11   Q.     And SEMS stands for?                                                     11   from all 82 counties are in one central location.

12   A.     Again, the Statewide Election Management System.                         12                THE COURT:   Scanned?

13   Q.     Okay.    Let's clear up just a couple of things with regard              13   A.   Scanned registration applications.     They will also scan any

14   to the process.       Who creates the voter rolls to be used in an              14   other documentation pertaining to that voter over the course of

15   election?                                                                       15   that voter's history.      And that's -- that's voter registration.

16   A.     Are you asking about the voter roll or the poll book?                    16   BY MR. NIXON:

17   Q.     Well, let's just start at the big.        Who has the voter              17   Q.   What about the federal postcard application?

18   rolls?                                                                          18   A.   Military overseas can register to vote by the federal

19                  THE COURT:     Can I make a suggestion?    Tell us the           19   postcard.     Again, it's a paper application, or if it's e-mailed

20   process of how someone would register and then -- you know,                     20   or faxed.     It's retained by the circuit clerk of that voter's

21   where they go?       We're not an over-65 person.        We're just a           21   residence.     That information, again, is entered into SEMS.    It

22   regular 30-year-old living in Padula County or whatever.                Pick    22   creates a voter record for that voter.      Their information is

23   one.    Well, pick Yazoo County because they're not here.                       23   scanned, the document's available, and they become a part of

24   They've elected not to show up, and they can't contradict you.                  24   the statewide voter roll.

25                  Anyway, pick a county and tell us who does what, and             25   Q.   Do you know why the federal postcard application ballot

                                                                               126                                                                           127

 1   requires -- is subject to open disclosures and the others are                    1   NVRA not entitled to the voter roll with the birth date

 2   not?                                                                             2   included?

 3   A.     No.                                                                       3   A.   There are no -- there have been no requests for the voter

 4   Q.     All right.    Let's get back to the registration process.                 4   roll.

 5   A.     Well, I never said others were not.       You never asked about           5   Q.   And so in answer to my question, so we're very clear here,

 6   registration applications.                                                       6   if a request were made for the voter rolls for the state of

 7   Q.     Are registration applications subject to open records under               7   Mississippi, which includes birth dates, maintained by

 8   the federal Voter Registration Act?                                              8   Secretary of State's Office, the Secretary of State would

 9   A.     Everything -- everything these clerks' offices and our                    9   provide that information?

10   office has is subject to public disclosure.              The issue is what      10   A.   Not for the entire voter roll, no.

11   may be redacted.                                                                11   Q.   Would it -- would it provide birth dates?

12   Q.     Okay.    All right.     Well, we've already decided that --              12   A.   I'm not -- I don't understand your question.

13   you've already disclosed that the federal postcard application,                 13   Q.   Would the voter roll that was requested of the Secretary of

14   which includes birth dates, is not subject to redaction.                        14   State's Office pursuant to the NVRA require -- would it include

15   A.     And neither are Mississippi state registration                           15   birth dates?

16   applications.                                                                   16   A.   No.

17   Q.     So the registration application, which includes birth                    17   Q.   Why not?

18   dates, is not subject to birth date redaction?                                  18   A.   Because that is not necessarily subject to public

19   A.     It may include a birth date, yes.                                        19   disclosure at -- it includes every voter ever registered in the

20   Q.     And it's not subject to a redaction?                                     20   state of Mississippi.      And pursuant to our own law, it's not

21   A.     Not under the NVRA.                                                      21   subject to disclosure.

22   Q.     So if we can obtain the birth date application -- the voter              22   Q.   Okay.    So that we're really clear here, if I ask for

23   application which includes the voter's birth date, that                         23   someone's application, I would get a copy of their application

24   information is uploaded through SEMS and put on a voter roll                    24   under the NVRA?

25   and includes a voter's birth date, why is a person under the                    25   A.   Yes.
                                                                             128                                                                                129

 1   Q.                    Case 3:14-cv-00532-NFA Document 83-1
          And that application would include the birth date?1   Q. Filed 08/06/14
                                                                    I'm sorry.        Page
                                                                               I didn't      14 ofthat.
                                                                                        understand  34 I can't be that --
 2   A.   It may.    It may not.                                                    2   A.   In this situation where you mention an application -- there

 3   Q.   There is a space to be filled out by the voter which has                  3   are certain -- I don't know.           I can't answer that question.

 4   birth date?                                                                    4   Q.   Okay.    All right.

 5   A.   Yes.                                                                      5                THE COURT:    I do have a question, though.    If the

 6   Q.   Does the Mississippi application also include a space for                 6   request were for current active voters, if the request were for

 7   Social Security number?                                                        7   the voter rolls -- roll -- is there one voter roll,

 8   A.   The last four digits.                                                     8   technically?

 9   Q.   We all agree that Social Security information is protected                9   A.   Uh-huh (indicating yes).

10   under a separate federal statute.         Would you agree with me on          10                THE COURT:    If the request was for one voter -- for a

11   that?                                                                         11   copy of the voter roll showing current eligible voters, would

12   A.   I'm sorry.     I didn't -- no.     I didn't hear you.                    12   the State -- Secretary of State feel it necessary, because of

13   Q.   Do we agree -- do you and I agree that Social Security                   13   federal law, to turn over the voter's name, address, date of

14   numbers are protected under a separate federal statute?                       14   birth and voter ID number, active voters only?

15   A.   Yes.                                                                     15   A.   No.     When we produce a voter roll, it excludes the date of

16   Q.   Okay.     So if a person filled out the voter -- the voter               16   birth but provides a VR, voter record number.

17   registration application with their birth date and not with                   17                THE COURT:    The voter record number is what?

18   their last four digits of their Social and I asked to see that,               18   A.   It's their voter registration number.         It's a unique number

19   I could receive that under the -- under the NVRA with the birth               19   assigned to every voter.

20   date information included?                                                    20                THE COURT:    That's what I thought.     It's not that they

21   A.   Yes.                                                                     21   voted in a particular election.          It's the registration that a

22   Q.   For every person who's ever filled out an application in                 22   person is assigned that's unique --

23   the state of Mississippi?                                                     23   A.   Correct.

24   A.   There's different facts and circumstances that are -- you                24                THE COURT:    -- as you just said.    Okay.   Does the

25   can't be that unilateral across the board.                                    25   State take the position from where you -- as you personally

                                                                             130                                                                                140

 1   understand it or in your official capacity understand it, that                 1   redactions, unless they're actually --

 2   turning over birth year would be protected even if birth date                  2                THE COURT:    Well, there are black marks.    I see your

 3   and month were redacted?          Or have you not considered that?             3   point.

 4   A.   It would be the entire field which is redacted.          The system       4                MR. NIXON:    Yes.    So I don't know what's been

 5   was designed to exclude the protected information.           So SEMS,          5   redacted.

 6   the Statewide Election Management System, will not produce that                6                THE COURT:    Well, let's find out what the offer is.

 7   report -- that voter roll with the date of birth at all.                       7   What's the offer?

 8                THE COURT:   Okay.    Thank you.                                  8                MR. PIZZETTA:   We have -- just to get the court

 9                MR. NIXON:   That's all the questions I have.     That's          9   finally to see what a poll book is, and I think Ms. Turner will

10   all the questions I have.         Thank you.                                  10   be able to explain what it is that is redacted underneath.             I

11                              CROSS-EXAMINATION                                  11   think it will --

12   BY MR. PIZZETTA:                                                              12                THE COURT:    Okay.     I'm going to overrule your

13   Q.   Hello, Ms. Turner.                                                       13   objection.

14   A.   Hi.                                                                      14        (EXHIBITS D-5 AND D-6 MARKED)

15   Q.   There was testimony about a couple of different types of                 15   BY MR. PIZZETTA:

16   documents.     I want to keep them straight.      Absentee ballot             16   Q.   Ms. Turner, looking at D-5, can you identify that for us?

17   envelopes, where are they right now?                                          17   Do you see at the top what county it comes from there?

18   A.   They are sealed in their respective ballot boxes in every                18   A.   Yes, I do.    It's -- these are poll books generated by

19   circuit clerks' office.                                                       19   Jefferson Davis County.           One is the Republican poll book and

20   Q.   When were they placed into those sealed boxes?                           20   the other is the Democratic poll book.

21   A.   When an absentee ballot is voted, it is immediately placed               21   Q.   You've seen poll books before.

22   into a sealed ballot box until election day, at which time it                 22   A.   Yes.

23   goes to the respective precinct for that voter.                               23   Q.   You've seen unredacted poll books before.

24        The short answer is, they are always sealed in a sealed                  24   A.   Yes.

25   ballot box from the time that they are cast until a period of                 25   Q.   Tell the court what it is that is redacted there on D-5 and
                                                                               141                                                                              142

 1   D-6.                    Case 3:14-cv-00532-NFA Document 83-1
                                                              1   Filed THE
                                                                        08/06/14     Page
                                                                            COURT: That's   15 of 34
                                                                                          fine.

 2   A.     The date of birth.                                                        2   BY MR. PIZZETTA:

 3   Q.     Okay.    So when you were testifying a moment ago about what              3   Q.   Noticing, though, D-5 and D-6, the first name is the same

 4   plaintiffs would be entitled to under even state law, is this                    4   on both of them.     Is that right?

 5   an example of -- if they pay the per-copy charge, is this an                     5   A.   Right.    They're identical.

 6   example of what is permissible to provide to plaintiffs under                    6   Q.   All right.    Why is that?

 7   state law?                                                                       7   A.   Well, because in the state of Mississippi, we don't

 8   A.     It is.                                                                    8   register by party affiliation.       So when you present to your

 9   Q.     Just so the --                                                            9   polling place on an election day, the voter may go to the

10                  THE COURT:     Wait a minute.    Is the -- under state law,      10   Republican table or the Democratic table.       So each poll book is

11   is the poll book on the date of the election redacted?                          11   identical since we don't have specific lists of Republican

12                  MR. PIZZETTA:    Your Honor, I'm sorry.      I don't             12   voters and specific lists of Democratic voters.

13   understand your question.                                                       13                THE COURT:   Is that called an open primary?

14                  THE COURT:     You've given me a redacted version of the         14   A.   Yes, it is, your Honor.

15   poll book from Jeff Davis County, a sample, obviously.                Is this   15   BY MR. PIZZETTA:

16   the way it was presented to the poll workers, or were the poll                  16   Q.   When I look at D-5 and it's marked "voted" next to one of

17   workers seeing the unredacted version of this document?                         17   the names, who writes that term in?

18   BY MR. PIZZETTA:                                                                18   A.   The poll worker.     The check-in poll worker.

19   Q.     Ms. Turner, can you answer that?                                         19   Q.   So looking at D-5 and D-6, if you wanted to determine

20   A.     The poll workers would have seen unredacted versions.                    20   whether Mr. Allison voted in the Democratic primary or the

21                  THE COURT:     I see.   Okay.                                    21   Republican primary on June 3rd, can you tell by looking at that

22                  MR. SANDERS:    Your Honor, those redactions that were           22   poll book?

23   made were made this morning.                                                    23   A.   You can.

24                  THE COURT:     That's fine.     Thank you.                       24   Q.   All right.

25                  MR. PIZZETTA:    No originals were redacted.                     25                MR. PIZZETTA:   Your Honor, no further questions.

                                                                               143                                                                              144

 1                  THE COURT:     Anything further, Mr. Nixon?                       1   Q.   All right.    And the next page is the first page of a VR-28

 2                  MR. NIXON:     Just a few questions.                              2   report for the runoff election on June the 24th.       Do you see

 3                  MR. SANDERS:    Your Honor?                                       3   that?

 4                  THE COURT:     Oh, I apologize.    I really do.   I'm so          4   A.   I do.

 5   sorry.                                                                           5   Q.   All right.    Can you explain to Judge Atlas what the

 6                  MR. SANDERS:    I have cross just very briefly.                   6   different columns are here that are represented on this VR-28?

 7                                  CROSS-EXAMINATION                                 7   A.   Sure.    The first column is the voter ID, which is the

 8   BY MR. SANDERS:                                                                  8   voter's unique registration voter number.       Then you have the

 9   Q.     Ms. Turner, my name is Bob Sanders.                                       9   voter name, their address, city, the particular precinct in

10                  THE COURT:     Do you want to offer that as an exhibit?          10   which the voter would have voted in this election, the date the

11                  MR. SANDERS:    We do want to offer it.                          11   voter registered and the party primary in which the voter voted

12                  THE COURT:     You want it marked?                               12   on each election day.

13                  MR. SANDERS:    Yes, ma'am.                                      13   Q.   All right.    Now, this VR-28 for Jeff Davis County, these

14                  THE COURT:     So this is Defendant's Exhibit 7.                 14   two reports for the primary and the runoff, they would be

15          (EXHIBIT D-7 MARKED)                                                     15   several hundred pages long.       So I didn't bring that.    But you

16   BY MR. SANDERS:                                                                 16   can -- you'll have the name of each person who voted in each

17   Q.     Ms. Turner, I'm Bob Sanders, representing the Jeff Davis                 17   primary, and it will show whether they voted in the Democratic

18   Election Commission.          Can you tell us what a VR-28 report is?           18   or the Republican primary.        Is that correct?

19   A.     It's a representation of the voters who voted in any given               19   A.   Yes.

20   election.                                                                       20   Q.   And if you had someone who had the same name, two John

21   Q.     All right.    And I've handed you what's been marked as                  21   Jones, one voted in the Democratic primary and then the

22   Exhibit 7, and I'll represent to you -- and you can see on the                  22   Republican runoff, you would be able to distinguish between

23   first page it appears to be a VR-28 report from the June 3rd,                   23   those two John Jones by the unique voter ID number.         Is that

24   2014, election.       Do you see that?                                          24   correct?

25   A.     Yes.                                                                     25   A.   You would.
                                                                             145                                                                                146

 1   Q.   All right.       Case 3:14-cv-00532-NFA Document 83-1
                         So so far as that issue is concerned, the
                                                            1     Filedstep
                                                                interim 08/06/14      Page
                                                                            before vote      16isofposted
                                                                                        history      34 to individual
 2   unique voter identification number is a proxy for the birth                    2   voters' voter record in the statewide system.

 3   date for that purpose.        Is that right?                                   3        This report is generated from what we call processing the

 4   A.   Yes, sir.                                                                 4   poll books, which means the counties will click the bar codes

 5   Q.   All right.                                                                5   of those voters who voted, and it puts that information into a

 6                MR. SANDERS:    Your Honor, I don't have any more                 6   table which holds the information which generates this report.

 7   questions, but I wanted the court to have an understanding                     7   But once the election is closed in SEMS, that information

 8   of -- in our response to the TRO, we told the court that we                    8   migrates out to the individual voter records.

 9   have sent all of this information to the plaintiffs, and I just                9                THE COURT:     Okay.   But it's -- it's unofficial in that

10   wanted the court to see what it is.                                           10   it's not yet incorporated into the formal voter records, but it

11                THE COURT:     Okay.   So you're saying you've already           11   is reliable, question mark, because it is coming straight from

12   provided --                                                                   12   the precincts or counties with the bar codes and, therefore,

13                MR. SANDERS:    Yes, your Honor.                                 13   the voter ID numbers?

14                THE COURT:     -- the full list --                               14   A.   It is reliable in that it is a reflection of those voters

15                MR. SANDERS:    Yes, ma'am, and it's a couple --                 15   who voted as marked on the poll books.

16                THE COURT:     -- of the voter -- the unofficial voting          16                THE COURT:     Okay.

17   list to the plaintiff.                                                        17                MR. SANDERS:    That's all I have.    Thank you, your

18                MR. SANDERS:    For the primary and the runoffs.     And         18   Honor.

19   it's 2- or 300 pages long.          We sent it to them in an e-mail           19                THE COURT:     Any other defense questions?   No?

20   prior to the time we filed our response to the TRO.           And,            20   Mr. Nixon.

21   frankly, I got this from the circuit clerk, not from the                      21                MR. NIXON:     Just a couple of follow-up.    Thank you.

22   election commission.        But he just cooperated with me on -- to           22                               REDIRECT EXAMINATION

23   that extent.                                                                  23   BY MR. NIXON:

24                THE COURT:     Why is it called unofficial?                      24   Q.   Okay.    If you could look at D-5, please.       How do we know

25   A.   It's called unofficial because this is a report that's an                25   that Mr. James Allison voted?

                                                                             147                                                                                148

 1   A.   I know that Mr. James Allison voted because it is written                 1   right?

 2   "voted" in the June 3rd, 2014, election column next to                         2   A.   Each precinct receives a poll book for the Republican and

 3   Mr. Allison's name in the Democratic poll book.                                3   Democratic table.

 4   Q.   Who would have written that down?          And I don't mean the           4   Q.   Who creates the poll book to give to that precinct?

 5   name of a person but the position of the person.                               5   A.   The poll book is generated from the Statewide Election

 6   A.   Poll worker.                                                              6   Management System by the circuit clerks.

 7   Q.   And is a poll worker an employee of the State of                          7   Q.   Does the Secretary of State have access to the Statewide

 8   Mississippi?                                                                   8   Election Management System?

 9   A.   A poll worker is compensated by the county for his or her                 9   A.   Yes.

10   service on election day.                                                      10   Q.   If the Secretary of State chose, could the Secretary of

11   Q.   Are they designated by parties to work in specific polls?                11   State create the same poll book?

12   A.   It depends on who's conducting that particular election.                 12   A.   Yes.

13   Q.   In the Democratic primary are they Democratic primary --                 13   Q.   Okay.    So in this instance of D-5 and D-6, they're created

14   are they Democratic Party affiliates?                                         14   by the county.     Circuit clerk?

15   A.   They are not affiliates of the state party.           If the county      15   A.   Yes.

16   Democratic Executive Committee actually conducted that                        16   Q.   And then they're delivered to each party?

17   election, they would have been chosen by that executive                       17   A.   No.     They're placed -- there is a ballot box and a supply

18   committee.     But state law allows county executive committees to            18   box for every precinct in every county in the state.             The poll

19   contract with election commissions to conduct the election.             So    19   books are placed in the supply box for the particular precinct

20   unless we had our list here of who conducted which county                     20   in which it represents.

21   election, I wouldn't be able to tell you for certain.                         21   Q.   How does it get to the precinct?

22   Q.   Okay.    Let's talk about chain of custody of D-5.                       22   A.   It is packed in the supply box by the election -- the

23   A.   Uh-huh (indicating yes).                                                 23   officials in charge of the election.

24   Q.   D-5 and D-6 are identical because they are poll books.                   24   Q.   And who are those officials?

25   It's -- and each party gets an identical poll book.           Is that         25   A.   Again, it's county election commissions for general and
                                                                         149                                                                                150

 1                          Case 3:14-cv-00532-NFA Document 83-1
     special elections, and it is county executive committees for
                                                             1   A. Filed 08/06/14
                                                                     By statute,        Page
                                                                                 the poll worker17 of 34
                                                                                                 writes "voted."

 2   primary elections unless they have contracted otherwise.                   2   Q.   Okay.     At the end of the night, the polls close.     What

 3   Q.   Okay.    Some counties don't have a Republican Party, and so          3   happens to the poll books?

 4   the state party would then contract with the county election               4                THE COURT:   What happens to what?

 5   commission to run the Republican primary in that particular                5                MR. NIXON:   The poll books.   These (indicating).

 6   county?                                                                    6   A.   They are put back into their supply box, and they are

 7   A.   There's a statutory provision which makes -- that allows,             7   resealed and sent back to the courthouse where the election

 8   yes, a committee to contract for the election commissioners to             8   materials will come under the direction of the circuit clerk.

 9   take that over.                                                            9   BY MR. NIXON:

10   Q.   Okay.    So now we've got the poll books at the precinct.            10   Q.   Not the election commission.

11   And the Democrats are at one table and the Republicans are at             11   A.   It's a joint responsibility.        If they are still utilizing

12   another table.       Is that right?                                       12   certain materials to count and canvass the vote, then it would

13   A.   Yes.                                                                 13   be the executive committees.      If they are complete, then it

14   Q.   So we're having a primary and there are either commission,           14   would be the circuit clerk.

15   county election commission people, or party people at each of             15   Q.   Who counts the votes when they're back in the circuit

16   the two tables.      Is that right?                                       16   clerk's possession?

17   A.   The poll workers, yes.                                               17   A.   What?     The poll books aren't used to count the votes.

18   Q.   And they all have access to birth dates?                             18   Q.   Okay.

19   A.   Yes.                                                                 19   A.   And we -- you would primarily utilize voting machines,

20   Q.   Okay.    Why?                                                        20   which means the vast majority of our vote totals are downloaded

21   A.   In limited instances, they may make reference to a date of           21   onto cards or zip drives and then downloaded into two different

22   birth in order to assist them in checking the correct person in           22   computer systems.

23   or in verifying a photo ID.                                               23                THE COURT:   What drives?

24   Q.   The person sitting at the table, not the voter, indicates            24   BY MR. NIXON:

25   "voted."                                                                  25   Q.   So election night these are back in the circuit clerk's

                                                                         151                                                                                152

 1   possession or -- and/or the possession of the election --                  1   subject to federal retention requirements?

 2   county election commission.      And then what happens to them?            2   A.   I would have to look at that.

 3   A.   They stay sealed in a supply box in the circuit clerk's               3   Q.   Okay.     You indicated that there -- that was the case.       I

 4   office for as long as the ballot boxes remain there as well.               4   just want to make sure that I understood that specifically.

 5   Q.   And then when the ballot box is -- so now we've had an                5   A.   Traditionally, the clerks and election commission officials

 6   election that's been certified.       So what happens to the poll          6   keep their materials for 22 months, all election materials,

 7   books then?                                                                7   regardless of what the federal law may say.

 8   A.   We still haven't gone past the period of time within which            8   Q.   Is the fact in this case that Mr. Allison voted in the

 9   a candidate may file an election contest.      Everything stays as         9   Democratic primary noted in the State's SEMS system?

10   it is until that period passes.                                           10   A.   If the county has processed their poll book and closed

11   Q.   So in relation to the Republican primary runoff for United           11   their election, then, yes, it is available on the voter roll.

12   States Senate, the challenger, Mr. McDaniel, may still file an            12   But if they are -- it would depend where they were in their

13   election contest?                                                         13   process.

14   A.   He may, yes.                                                         14   Q.   So the Secretary of State now has possession of who voted

15   Q.   If the time period passes where he doesn't file or the               15   in the Republican primary runoff on June 24th in the SEMS

16   election contest is terminated, how much longer are these poll            16   system?

17   books kept?                                                               17   A.   We may.    Yes.

18   A.   Well, they are kept for at least 22 months, since it's a             18   Q.   And you may produce that by simply running a computer

19   federal election.       And they will be packed, sealed and put into      19   program and putting it on a disk.         Right?

20   a vault or some other location.                                           20   A.   It -- the information becomes part of the voter roll.          So

21   Q.   The federal law requires these be kept unredacted for 22             21   it ends up being a request for a voter roll with vote history.

22   months?                                                                   22   Q.   Just one last clear-up issue.        Overseas or military votes,

23   A.   They keep all their election materials by state law and              23   do they -- do they have more than one ballot in an envelope, or

24   federal law for a period of time.       Yes.                              24   do they come in two different envelopes?

25   Q.   Are these poll books, because it's a federal election,               25                THE COURT:   What does that mean?
                                                                                153                                                                           154

 1               MR. NIXON:  Case  3:14-cv-00532-NFA
                              The runoff                       Document
                                         is done within three weeks of  83-1
                                                                         1     Filed
                                                                             where that08/06/14
                                                                                        voter lives,Page
                                                                                                     his or 18
                                                                                                            her of 34 if he was voting
                                                                                                                precinct,

 2   the primary.        And so the military voters or overseas voters are             2   in person, that's where his or her absentee ballot will go.

 3   sent a primary, and then they're sent a second ballot that                        3   And it goes into the ballot box with everything else to the

 4   says, Assume there's a runoff, who would you vote for in the                      4   precinct.

 5   runoff?     And so I want to know --                                              5   Q.   How do they decide which party it goes to?      Goes to the

 6               THE COURT:     Even though they don't know who's in the               6   Republican Party or the Democratic Party?       How is that decision

 7   runoff?                                                                           7   made?

 8               MR. NIXON:     You don't even know who's in the runoff.               8   A.   The voter has to tell their decision at the time they are

 9   But assuming there's a runoff, who would you vote for?              So --         9   voting the absentee ballot because the ballots are different.

10               THE COURT:     Is that done?                                         10   Q.   Then the absentee ballot application and the envelope, are

11   A.     It's required by UOCAVA for us to meet the 45-day deadline                11   they put together and then sent to the respective precincts?

12   to provide a ranked-choice ballot to them at the same time as                    12   A.   The absentee ballot is in its envelope, and the sealed

13   their primary ballot.                                                            13   absentee ballot in its envelope is usually paper-clipped to the

14               THE COURT:     Ranked choice plus the primary.        So it is       14   absentee ballot application.

15   two ballots?                                                                     15   Q.   And they physically are in the possession of the party

16   A.     It's two ballots and they are returned.        If they are being          16   primary workers on election day?

17   returned by mail, they come back in two envelopes.                               17   A.   I don't understand your question.

18   Predominantly, those ballots are returned by e-mail, and they                    18   Q.   Are they?   Are they then -- are the primary -- are the

19   are placed into two separate envelopes by the clerk's office.                    19   absentee ballots sealed in the envelope with the application,

20   BY MR. NIXON:                                                                    20   then physically delivered to the party primary workers who are

21   Q.     On election day -- I just want to make sure I understand                  21   working the poll?

22   this perfectly.       On election day the absentee ballots are                   22   A.   Those materials are in the ballot box with everything else,

23   delivered to the respective precincts.           Is that correct?                23   with the memory cards for the machines, with the blank paper

24   A.     The absentee ballots in their envelopes with their                        24   ballots for curbside voters.        They're in the ballot box that's

25   applications are put into the right precinct ballot box.              So         25   sealed and sent to every precinct.        And once in the precinct,

                                                                                155                                                                           156

 1   they are in the possession of the poll workers for each                           1   think maybe you should have been asked about?

 2   respective election.                                                              2   A.   One thing that --

 3   Q.     When are they opened?                                                      3               THE COURT:   You better get back on the stand.   I hate

 4   A.     After the polls close.                                                     4   to do that to you, but...

 5               THE COURT:     We just went through that.     "They" being,           5        (COMPLIED WITH REQUEST)

 6   frankly, a vague term.       I'm assuming you're asking are the                   6               THE COURT:   I hate to let you go because you know a

 7   ballots, and I went through that one.           The boxes are presumably          7   lot, and, frankly, you're filling in the gaps of our knowledge.

 8   opened when the ballot -- when the precinct worker -- the boxes                   8   Go ahead.

 9   with the supplies have to be opened at the beginning of the                       9   A.   The one thing I did mention to Mr. Pizzetta earlier is some

10   voting day.     Right?     Or early.                                             10   confusion about signing the poll books.       And I just want to be

11   A.     Certainly.    It -- it depends what they have packed in which             11   clear that the voter does not sign the poll book at all.

12   box.    But if blank paper ballots have been packed in the ballot                12   There's a separate book for voter signature, and it's called a

13   boxes, they will break the seal, pull out what they need,                        13   receipt book.

14   reseal the ballot box.       As you pointed out, at the end of the               14               THE COURT:   Okay.

15   day they would break the seal.           They pull out the absentees.            15   A.   And that's all -- that's all it is.

16   They count them.       They put them back.      They reseal it.                  16               THE COURT:   Other than the receipt book, what other

17   BY MR. NIXON:                                                                    17   information is --

18   Q.     You say "they."     Who's "they"?     Who's counting them?                18   A.   That is all it is.    It's a sign-in sheet.    But I did want

19   A.     Poll workers.                                                             19   to just clarify that the voter does not sign the poll book.        By

20               MR. NIXON:     That's all I have.    Thank you, Judge.               20   law, the only thing that is written in a poll book is the word

21               THE COURT:     Anybody else, defense?                                21   "voted" by the poll worker.

22               MR. SANDERS:     No redirect.                                        22               THE COURT:   Is what?

23               THE COURT:     No?   Okay.   Thank you very much.     We all         23   A.   Is the word "voted" by the poll worker in the appropriate

24   learned a lot.       Before I let you off the stand, may I -- ma'am,             24   election column.

25   is there any other term that we've heard about today that you                    25               THE COURT:   By the Democratic --
                                                                         157                                                                                158

 1   A.                   Case So
          By the poll workers. 3:14-cv-00532-NFA           Document
                                  for whichever party primary a poll 83-1
                                                                      1     Filed
                                                                          that     08/06/14
                                                                               election.        Page
                                                                                         They may      19 of --34broken down the one
                                                                                                  have broken

 2   worker is working for, they're the only ones that would write              2   poll book already into two binders.

 3   the word "voted" in the poll book.                                         3               THE COURT:   Oh, because it's so big.      Okay.   I get

 4               THE COURT:   And the lists -- in most counties,                4   you.

 5   typically, is there more than one poll worker signing in voters            5   A.     Right.   So they traditionally break it out ahead of time

 6   on a given day?                                                            6   and put them in folders or binders for ease of use.

 7   A.   It depends, of course, on the size of the precincts in the            7               THE COURT:   Okay.    But the point is that at the end of

 8   counties.    But, yes, we do see our bigger precincts with poll            8   the polling day, those poll books are collected and put back in

 9   books that are split alphabetically, A through L, M through Z.             9   the supply box?

10   So --                                                                     10   A.     Yes, ma'am.

11               THE COURT:   That anticipated my question.     No one --      11               THE COURT:   And then they go to the county courthouse

12   no two poll workers, then, have the same list for the                     12   clerk?

13   Democratic side or the Republican side?      In other words, I know       13   A.     Uh-huh (indicating yes).

14   the list in its total is the same.       It goes to the Republican        14               THE COURT:   And they are held in -- other sealed --

15   table and the Democratic table.      But once it gets to the table        15   part of the sealed --

16   of a particular party, is there one list?                                 16   A.     The poll books usually are not kept sealed, as they do

17   A.   Yes.                                                                 17   often receive public records requests for the poll books.              So

18               THE COURT:   And then it's broken into segments,              18   they are kept outside of the sealed box.

19   depending on the number of poll workers and perceived need for            19               THE COURT:   Okay.

20   different people to check in?                                             20   A.     But they remain with the supplies and the election

21   A.   It definitely may be broken into sections, yes.                      21   materials.

22               THE COURT:   Okay.   And then at the end of the polling       22               THE COURT:   Okay.    And when a public information

23   day, the three or X number of sections are collated and                   23   request comes, is that under state law or federal law?

24   combined back to the full poll list?                                      24   A.     It is presumably always under state law.

25   A.   It would depend how the election officials prepared for              25               THE COURT:   And in that case you redact information

                                                                         159                                                                                160

 1   required to be redacted under state law, such as date of birth?            1   absentee ballot in its envelope for processing.

 2   A.   Just the date of birth.                                               2               THE COURT:   I've not seen one of those, but can the

 3               THE COURT:   Just the date of birth.   Okay.    We've          3   defense supply us with a copy of that form or an exemplar?

 4   covered voter registration applications.      Are those exactly            4   A.     There's a blank form online.

 5   what they appear to be?     In other words, a voter fills out an           5               THE COURT:   Okay.    So that will be easy.     I'm not

 6   application to register to vote?                                           6   supposed to go online to search this out.

 7   A.   Yes.                                                                  7               MR. PIZZETTA:   We'll provide it, your Honor.

 8               THE COURT:   In writing, they put in a lot of -- all           8               THE COURT:   Thank you.   Okay.      Then the absentee

 9   the personal information that --                                           9   voting envelopes, those are the envelopes that the absentee

10   A.   They -- they do put some personal information, such as the           10   voter ballots are received in?        Sent in?

11   last four of their Social, their date of birth, their name,               11   A.     They're put in.   The absentee ballots are put in an

12   their address, their driver's license number.      And then there's       12   envelope, yes.

13   a block that requires them to, under penalty of perjury, attest           13               THE COURT:   Oh, to go back -- to go out to the voter,

14   to the fact they have not been convicted of any of the                    14   the requester?

15   disenfranchising crimes.                                                  15   A.     Either for it to be secured before it goes to the precinct;

16               THE COURT:   And then voter rolls you've talked about.        16   or if they're mailing it back, it could be a mailed envelope as

17   Voter poll books you've talked about.      Federal postcard               17   well.

18   applications you've mentioned.      Who keeps those?     I think you      18               THE COURT:   Okay.    But the point is, the voter doesn't

19   said it, but I don't --                                                   19   go to their file cabinet and pull out an envelope.          It's

20   A.   They're -- they're kept -- they have -- they can have two            20   something supplied by the county?

21   purposes.    If they were -- if a federal postcard was sent for           21   A.     Correct.

22   registration purposes, it's, of course, kept as a registration            22               THE COURT:   Sent out originally or provided by the

23   application, but we usually see it as a simultaneous request as           23   county and then returned by the voter.           Correct?

24   registration application and absentee ballot request.                     24   A.     Right.

25        So it's scanned into SEMS, but it still stays with the               25               THE COURT:   Okay.    And that's a term of art, and I
                                                                            161                                                                                   162

 1                         Case 3:14-cv-00532-NFA Document 83-1
     could use a sample of that.                            1   A. Filed
                                                                    You do08/06/14     Page
                                                                           not have a voter   20 of 34
                                                                                            roll.

 2   A.   Those vary by county, your Honor.           Every county is              2                THE COURT:     So we need a copy of that.      Just a page.

 3   responsible for its own absentee ballot envelopes.           And you'll       3   Redacted is fine.         We've had testimony about it.          I know what

 4   see at least three different variations in probably every                     4   it is, but I'd like a sample.            Okay.   Anybody have any other

 5   county.                                                                       5   samples?

 6                THE COURT:   Oh, great.     Okay.    Is there a minimum          6                MR. WALLACE:    One technical question, your Honor.

 7   amount of information required?                                               7                                CROSS-EXAMINATION

 8   A.   There's the statutory information, which is the voter's                  8   BY MR. WALLACE:

 9   signature with the oath and the witness and the voter                         9   Q.   You mentioned that you keep -- or that the county clerks

10   assistance.      And they all comply with statute.       You just see so     10   keep certain documents for 22 months.             Do you know what federal

11   many different forms.      And we can get you copies, but you just           11   statute requires that?

12   would need to realize that it's going to change by county.                   12   A.   Not off the top of my head.

13                THE COURT:   I understand.     I don't really want all the      13   Q.   Okay.    You don't know whether it's the Voter Registration

14   variations, but maybe two or three that are typical that                     14   Act or some other statute?

15   have -- that are easy to read.                                               15   A.   I'd have to look and double check.

16   A.   Okay.                                                                   16   Q.   Thank you.

17                THE COURT:   The absentee ballots, I'd like a sample of         17                MR. WALLACE:    Thank you, your Honor.

18   that.                                                                        18                THE COURT:     Okay.   We will ask you supply that.

19   A.   It's just a scannable ballot.        We can download one for you,       19                MR. NIXON:     I have one short follow-up, if I may.

20   but it's the same blank ballot that's used on election day for               20                THE COURT:     Okay.

21   emergency purposes as well.                                                  21                            FURTHER DIRECT EXAMINATION

22                THE COURT:   That's fine.    That's fine.     That will be      22   BY MR. NIXON:

23   helpful.     The record needs it.      Remember, I'm not a                   23   Q.   We really didn't talk about a runoff.            We talked about the

24   Mississippian, but, more importantly, the record needs it.             I     24   primary and each of these (indicating) stamped.             In the runoff

25   think I've got the -- I'm not sure I have voter rolls.                       25   do they -- do the parties then switch books -- the poll books

                                                                            163                                                                                   164

 1   so that they know who voted in the other political party's                    1   book to see if you voted in the Democrat Party.

 2   primary?                                                                      2                THE COURT:     What's wrong with doing that?

 3   A.   That is not the recommended or trained proper procedure.                 3                MR. NIXON:     It's -- I don't know.      I just was

 4   Q.   What is the recommended or trained proper procedure?                     4   asking --

 5   A.   What has been trained or taught is to actually print a                   5                THE COURT:     Sounds like a great idea.

 6   VR-28 report which lists all particular voters who voted in                   6                MR. NIXON:     Yeah, I thought so too.      It's just -- some

 7   that election and to provide that list to the poll workers.                   7   counties do it.     I just wanted to make sure we understood the

 8   Q.   Who recommends creating the VR-28?                                       8   process.

 9   A.   Our office trains the election commissioners and executive               9                THE COURT:     Okay.   But I think your point is that

10   committees, and then they pass it along to their poll workers.               10   there's no new polling record or anything.

11   Q.   Okay.    So you instruct the counties to do that.        Do the         11   A.   There's no new poll book run.           And we only had a Democratic

12   counties -- are they required by Mississippi statute to do                   12   runoff in a few counties, so some Republicans were -- had the

13   that?                                                                        13   benefit of the Democratic poll book because it wasn't in use.

14   A.   No.     There is no procedure set by statute.                           14                THE COURT:     Thank you.

15   Q.   Okay.    Some counties may create a VR-28 and some counties             15                MR. NIXON:     Thank you.

16   just may switch poll books?                                                  16                THE COURT:     Anything else?       You are finally --

17   A.   They may.                                                               17                MR. SLAY:    One.

18                THE COURT:   Switch what?                                       18                THE COURT:     Oh, oh, oh.

19                MR. NIXON:   They switch the books.       The Democrats         19                MR. SLAY:    And this may be totally off base.

20   voted here and the Republicans voted here, on the right and the              20                                CROSS-EXAMINATION

21   left, during the primary.      So in order to know who voted in the          21   BY MR. SLAY:

22   other person's primary, the parties switch books.            So when you     22   Q.   Kim, Craig Slay, Rankin County.             We've talked.

23   vote in the Republican Party primary runoff --                               23   A.   Yeah.    Hey, Craig.

24                THE COURT:   Oh, the Republicans can check --                   24   Q.   Good to see you.       What is your understanding of -- under

25                MR. NIXON:   -- you're looking at the Democrat polling          25   Mississippi law, if you know, what is the -- what is the
                                                                                  165                                                                               166

 1                         Case 3:14-cv-00532-NFA Document 83-1
     person, office, entity or otherwise that is responsible for
                                                            1     Filed
                                                                Sir, would08/06/14     Page
                                                                           you state your name?21No,
                                                                                                  of first
                                                                                                      34 stand up because I'm
 2   being the repository, the holder, the keeper of election                            2   going to swear you in.

 3   materials, and my specific question is the poll books, since                        3          (WITNESS SWORN)

 4   that is the -- seems to be the issue before us?              Who, by                4               THE COURT:     Would you please be seated, pull yourself

 5   statute, is defined as the person responsible for, ultimately,                      5   close to the mic, and then state and spell your whole name for

 6   the poll book?                                                                      6   the record.

 7   A.   It's going to be the circuit clerk.                                            7               THE WITNESS:    Okay.   My name is Phillip Clair Harding,

 8   Q.   The circuit clerk.       Thank you.                                            8   III.    That's P-H-I-L-L-I-P, middle name, C-L-A-I-R, last name,

 9                THE COURT:     Anybody else?        Thank you very, very much.         9   H-A-R-D-I-N-G.

10   Appreciate your information.           Mr. Nixon, I know I promised                10               THE COURT:     All right.   Thank you.   You may proceed.

11   lunch at about 1, and it is about 1, but I was wondering if you                    11                              PHILLIP C. HARDING,

12   had a short witness.                                                               12   having first been duly sworn, testified as follows:

13                MR. NIXON:     We do.    I think we'd like to call Phil               13                               DIRECT EXAMINATION

14   Harding.                                                                           14   BY MR. HOGUE:

15                THE COURT:     Okay.    Thank you.     Let's do that.                 15   Q.     All right.   Mr. Harding, where do you reside?

16                MR. HOGUE:     Your Honor, I'm Eades Hogue.                           16   A.     I reside in Biloxi, Mississippi.

17                THE COURT:     Okay.    You're going to do the questioning?           17   Q.     Would you tell the court your occupation.

18                MR. HOGUE:     If you don't mind.                                     18   A.     I'm a retired Air Force officer.

19                THE COURT:     No.     It's fine.                                     19   Q.     All right.   And briefly tell his Honor the nature of your

20                MR. HOGUE:     I'll try to be fast.                                   20   service.

21                THE COURT:     Okay.                                                  21   A.     I served 30 years in the U.S. Air Force, retiring as a full

22                MR. HOGUE:     I do have a drawl, but I'll --                         22   colonel.    I began my career as a nuclear missile launch officer

23                THE COURT:     Your drawl is okay.                                    23   and then proceeded later on in my career to serve as a

24                MR. HOGUE:     All right.                                             24   logistics readiness officer.

25                THE COURT:     You're in good company here, I can tell.               25          During that time I commanded two separate squadrons, both

                                                                                  167                                                                               168

 1   in Korea, was a deputy group commander and finished my career                       1   to demonstrate the destruction of some absentee ballot

 2   at Keesler Air Force Base, having spent my last year on active                      2   materials.

 3   duty deployed to Iraq.                                                              3               THE COURT:     It's not relevant, since no one from

 4   Q.   Okay.    Now, what county in Mississippi do you presently                      4   Harrison County was here, and I haven't made a ruling on that,

 5   reside?                                                                             5   and you didn't sue them in the first place.          I don't understand

 6   A.   Harrison County, sir.                                                          6   why that is relevant.

 7   Q.   And are you a registered Mississippi voter?                                    7               MR. HOGUE:     Well, it would be relevant to show that

 8   A.   Yes, I am.                                                                     8   there's a question as to the validity of the election.          What

 9   Q.   Approximately when did you register to vote here?                              9   this man is going to testify to, ma'am, is about observing the

10   A.   I registered end of April, beginning of May.                                  10   destruction of absentee ballot materials.

11   Q.   Of what year, sir?                                                            11               THE COURT:     When we get to that part of the case, if

12   A.   Of 2014.                                                                      12   we get there and we need a hearing, I welcome this testimony.

13   Q.   All right.    Now, calling your attention to the Republican                   13   Also, when you sue Harrison County for something that they have

14   primary and primary runoff elections, did you have an occasion                     14   done that you believe is illegal, I will welcome the testimony.

15   to volunteer in coordinating or operating a part of that                           15               But right now, you have sued eight county -- nine

16   election process?                                                                  16   county officers and the State and the Republican Party, and we

17   A.   Yes, I did.                                                                   17   have a lot of people here that want to be heard on issues that

18                MR. SANDERS:    Your Honor, if he's going to testify                  18   involve the National Voter Registration Act.         This alleged

19   about what happened in Harrison County, we object.              Harrison           19   destruction of something is not part of that case.         Objection

20   County is not one of the nine county defendants here and,                          20   sustained.    Witness may not testify.      I'm sorry.

21   frankly, has no relevance to this proceeding.                                      21               MR. HOGUE:     Well, I'm very sorry, too.    I would add

22                THE COURT:     Okay.    Where are all the microphones on              22   one thing, your Honor, and I'm going to sit down.         He's also

23   the defense side?         Let's put it in the middle.       Okay.    But I         23   prepared to testify and tell you about additional inspection of

24   think we did hear you.        So what's your answer to that?                       24   Harrison County records that the circuit clerk's office where

25                MR. HOGUE:     Well, my answer to that is, we are going               25   he --
                                                                            169                                                                                170

 1                        Case
                 THE COURT:     3:14-cv-00532-NFA
                           If you want to lay --  Document 83-1
                                                            1     Filed 08/06/14
                                                                precincts out of 60 in Page
                                                                                       Harrison22 of 34 We inventoried those
                                                                                                County.

 2               MR. HOGUE:     -- where he found that missing --                  2   and found that there were still approximately 40 counties -- or

 3               THE COURT:     Excuse me, sir.    When I'm speaking, you          3   40 precincts' worth of materials that were missing, asked again

 4   are not.                                                                      4   and were provided another approximately 20 precincts --

 5               MR. HOGUE:     Thank you.                                         5               THE COURT:     What day did you do that?

 6               THE COURT:     If you would like to lay a foundation for          6   A.   What's that?

 7   that line of questioning, you're welcome to do that.                          7               THE COURT:     What day did you do this --

 8               MR. HOGUE:     All right.                                         8   A.   This is beginning the 7th of July through the -- through

 9   BY MR. HOGUE:                                                                 9   last Friday, the 18th.

10   Q.   Now, following the actual primary runoff election, did you              10               THE COURT:     7th through the 18th of July?

11   have an occasion to go back to the Harrison County Circuit                   11   A.   Yes.   Yes.    We initially -- initially went to ask for these

12   Clerk's office for the purpose of trying to review materials                 12   on the 7th.    The first -- first increment --

13   involving absentee votes?                                                    13               THE COURT:     Did you go to every precinct and ask or

14   A.   Yes, I did.                                                             14   how did you --

15   Q.   All right.    Tell Her Honor what you did.                              15   A.   No, we asked the circuit clerk.

16               MR. SANDERS:    Your Honor, we have the same objection,          16               THE COURT:     Okay.

17   relevancy.                                                                   17   A.   The circuit clerk went to the election commission and found

18               THE COURT:     No, I'm going to hear this one.                   18   a number of orange absentee ballot bags with materials, and

19   A.   Yes.   I was -- was working to review the election materials            19   some empty, brought them over.          That was the first increment

20   as a certified -- or a credentialed volunteer for the McDaniel               20   that had about 20 precincts' worth of material.

21   campaign.    We requested the absentee ballot materials, the                 21               THE COURT:     You were asking only for absentee ballots?

22   envelopes and the applications.          They were initially not             22   A.   We already had access to the ballot bags that had the voted

23   provided.                                                                    23   ballots in them at that time.

24        We asked -- asked a second time for them.         A portion of          24               THE COURT:     Okay.   How close was the election in

25   those materials were provided, involving about 20 of the                     25   Harrison County?

                                                                            171                                                                                172

 1   A.   It was --                                                                1   A.   We initially got 20 precincts on the afternoon of the 9th.

 2               THE COURT:     What was the differential?                         2   We asked -- we indicated that that was not the entire supply of

 3   A.   It was over 3,000 votes difference.                                      3   those materials.     We got another increment of those on the

 4               THE COURT:     Okay.   So you already had the voter               4   morning of the 14th of July.        And I asked again on the 17th

 5   registration or the voter rolls or what?                                      5   with a specific list of the precincts that we were still

 6   A.   At that point we did not.          We had -- we had seen a few of        6   missing.    And I received a formal letter back from the circuit

 7   those poll books that we had -- had requested and paid the                    7   clerk indicating that I would need to ask the --

 8   county clerk to redact.       But by the time that we were                    8               MR. WALLACE:    Object --

 9   officially credentialed by the McDaniel campaign to do that, we               9   A.   -- Republican --

10   did not have access at that point because the campaign had not               10               MR. WALLACE:    -- to the letter, your Honor.

11   paid for the redaction of the remaining poll books at that                   11   A.   -- committee.

12   point.                                                                       12               MR. WALLACE:    That would be --

13               THE COURT:     Okay.                                             13               THE COURT:     All right.   Well --

14   A.   That was the subject of another mandamus case.                          14               MR. HOGUE:     I would like to --

15               THE COURT:     That's the state case.                            15               THE COURT:     -- I don't know that it was a letter.     He

16   A.   Yes.                                                                    16   just told me that he had a response.         But the point is,

17               THE COURT:     Harrison.                                         17   overruled.    You got back a response that said no to the

18   A.   Yes.   Yes, it was.                                                     18   balance, but you got about 40 of the 60?          Is that what it was?

19               THE COURT:     Okay.   So what did you -- what did you           19   A.   Yes.

20   actually ask for?                                                            20               THE COURT:     That's your punch line?

21   A.   We asked for the absentee ballot materials, the envelopes,              21   A.   Yes.

22   the opened envelopes, and the applications.                                  22               THE COURT:     Okay.   Great.

23               THE COURT:     Okay.                                             23               MR. HOGUE:     Ma'am, it might -- you're the boss.     It

24               MR. HOGUE:     May I proceed?                                    24   might elucidate this whole issue if I offer to introduce what

25               THE COURT:     And you got 20 precincts --                       25   should be in your bench book Exhibit 9, ma'am.           It's a two-page
                                                                             180                                                                           181

 1                         Case 3:14-cv-00532-NFA Document 83-1
     please, and spell your full name for the record.       1     Filed 08/06/14 Page 23 of 34
                                                                results?

 2                THE WITNESS:    My name is Roy Nicholson, R-O-Y,                  2   A.   Yes, I did.   After the runoff vote we had heard allegations

 3   N-I-C-H-O-L-S-O-N.        Middle name is Woodrow, W-O-O-D-R-O-W, and           3   of problems with what I believe one of the defense attorneys

 4   I am a junior.                                                                 4   called the crossover vote, or we called it double-voting, where

 5                THE COURT:     Okay.                                              5   a person voted in the Democrat primary and then voted in the

 6                THE WITNESS:    Do you have all those pieces together?            6   Republican runoff.

 7                THE COURT:     I think I've got it.   Roy Woodrow                 7        We had heard allegations, and I wanted to see in my home

 8   Nicholson, Jr.                                                                 8   county of Rankin if any of that had occurred.      And so I went

 9                THE WITNESS:    Yeah, Roy Woodrow Nicholson, Jr.                  9   down to the circuit court clerk's office, Ms. Rebecca Boyd, and

10                THE COURT:     Okay.   Thank you.   You may proceed.             10   asked, along with three other people with me, if we could view

11                MS. McDANALD:    Thank you.                                      11   those -- the poll book.

12                             ROY W. NICHOLSON, JR.,                              12   Q.   What were the names of the three other people with you?

13   having first been duly sworn, testified as follows:                           13   A.   Sandra Inman is one, and it was also Larry and Elva

14                                DIRECT EXAMINATION                               14   Eubanks.

15   BY MS. McDANALD:                                                              15   Q.   And you said that you requested to review the poll book.

16   Q.   Roy, are you a resident in Mississippi?                                  16   What is the poll book?

17   A.   Yes, I am.                                                               17   A.   The poll book is a copy of the voter registration that's

18   Q.   And how long have you lived here?                                        18   given to the poll workers in which they verify that somebody is

19   A.   14 years now.                                                            19   eligible to vote in that precinct, and they mark them as having

20   Q.   Are you a registered voter?                                              20   voted in the election of that day.

21   A.   Yes, I am.                                                               21   Q.   So how would the poll book specifically help you identify

22   Q.   Have you voted in any elections recently?                                22   whether or not there was double voting?

23   A.   Yeah.    The most recent was in the Republican primary for               23   A.   Well, the poll books, under standard procedure that is used

24   the U.S. Senate, both primary and the runoff.                                 24   in most places, the two parties will have swapped their poll

25   Q.   Have you done anything to follow up on the election                      25   books from the primary.     And in doing that each party can

                                                                             182                                                                           183

 1   verify that the people that are coming to vote in the runoff                   1              THE COURT:   No, not relevant.

 2   had not previously voted in the other party's primary.                         2              MS. McDANALD:   We would argue that the evidence is

 3        And so that -- looking at that book would tell us if people               3   relevant, in fact, because the Secretary of State was up on the

 4   had voted, because they would have already been marked as                      4   bench talking about the implementation of practices of voting

 5   having voted in the June 3rd Democrat and then showed up on the                5   statewide.   There's a statewide procedure.     This would be

 6   Republican 24th runoff.                                                        6   contradictory evidence specific to that testimony, that the

 7   Q.   And were you able to gain access to the poll books?                       7   statewide procedure is not being followed county to county.

 8   A.   No, we were not.       We were denied access by the circuit               8              THE COURT:   What does that have to do with the

 9   court -- clerk.     Pardon me.                                                 9   preliminary injunction hearing we're here on today, which is

10   Q.   Were you told that if you ever gained access you would be                10   the issue of whether people are allowed to see the various

11   permitted to review the birth dates?                                          11   documents you want, redacted or unredacted?

12   A.   What we were told when we were there and requested to see                12              MS. McDANALD:   It has everything to do --

13   these from the circuit court clerk was she had an e-mail from                 13              THE COURT:   Double voting.   My point is that I just

14   the Secretary of State ordering her to not allow anyone to view               14   don't get it on the double voting.

15   unredacted original poll books because of the birth date or the               15              MS. McDANALD:   Absolutely.   The double voting is

16   last four of the Social Security number.           She also cited the         16   specifically related to this hearing because the poll books are

17   county attorney had instructed her that those poll books were                 17   how we see whether double voting did or did not occur.       And how

18   not subject to public information requests because they were,                 18   do we see that?    What he just said.    It shows whether or not a

19   in fact, county property.                                                     19   person is eligible to vote in a runoff election.

20   Q.   Okay.    Did you ever seek the poll books from any other                 20              You review the poll book.     The poll book says whether

21   counties?                                                                     21   or not somebody already voted in the primary.      Therefore, if

22   A.   Yes.    A day or two before I had visited in Rankin County               22   you already voted in the primary and you are a Democrat voting

23   while those books were being investigated, and I saw quite a                  23   a primary, you cannot go and vote in the Republican runoff.

24   few cases of people that had double voted.                                    24   You are not eligible.

25   Q.   Okay.    And what specifically were those cases?                         25              And that goes to everything about this primary -- I'm
                                                                              184                                                                               185

 1                         Case 3:14-cv-00532-NFA Document 83-1   Filed
     sorry -- this hearing, because the NVRA says we get to see, by
                                                            1   that     08/06/14
                                                                     means.           Page
                                                                            So I'm trying    24 of
                                                                                          to keep us 34
                                                                                                     focused.

 2   public disclosure, every document -- and it is broad                            2               MS. McDANALD:    Sure.

 3   language -- that relates to the eligibility of voters.             How do       3               THE COURT:    Okay?

 4   we know whether or not somebody is eligible to vote?                            4               MS. McDANALD:    Understood.

 5                THE COURT:    Eligibility of voter lists.    The statute           5               THE COURT:    And, truthfully, whether the statute does

 6   refers to voter lists, accuracy and currency of voter lists.                    6   or doesn't require birth dates is one thing that it does

 7   So my question is -- and your complaint is that the redactions                  7   require, and I don't see a dispute among these people about

 8   are inappropriate.        If this gentleman had asked for the voter             8   whether or not the voter lists from which the poll lists are

 9   list -- or the poll book redacted, apparently, he would have                    9   made were prevented or should have been or could have been

10   gotten it.                                                                     10   prevented from being turned over.

11                MS. McDANALD:    He would have gotten it.    And,                 11               The issue is the detail of the birth dates.      And this

12   essentially, the Fourth Circuit --                                             12   witness can't -- I mean, he's -- you've established that he

13                THE COURT:    The accuracy of the voter list is a -- is           13   asked for it and that he couldn't get it because of the birth

14   the issue we have here, not whether there was double voting.                   14   dates.

15   So if he wanted to see the voter list --                                       15               MS. McDANALD:    That's right.

16                MS. McDANALD:    Okay.                                            16               THE COURT:    If you want to add some other facts about

17                THE COURT:    -- he could have seen it without the birth          17   what he could or couldn't get, you may.

18   dates.     And then if separate events, separate concern wanted to             18               MS. McDANALD:    I apologize.    I thought the Secretary

19   check because there was double voting, then he could have                      19   of State was trying to argue that the poll books weren't

20   said -- gone through that process.                                             20   covered by the NVRA.

21                But as I understand it, this hearing is not about                 21               THE COURT:    They did argue that, but that's a separate

22   double voting.     It's about the accuracy of the voter lists and              22   issue, and we already understand what the issue is.

23   currency of them.         So I don't see the need for detailed                 23               MS. McDANALD:    Okay.

24   evidence about double voting.          He's already said he saw,               24               THE COURT:    But the insistence of double voting is not

25   quote -- and I've allowed it in -- quite a few cases, whatever                 25   my subject today.        That's all I'm trying to communicate.

                                                                              186                                                                               187

 1   A.   May I add a comment?                                                       1   A.   There were two -- two requests that were discussed.         One

 2                THE COURT:    No.                                                  2   was the original, just being able to view, just view, not make

 3   A.   Okay.                                                                      3   copies or anything, but view the unredacted copies there.          When

 4                THE COURT:    If she wants to ask -- no offense.      I'm          4   I was told that was impossible, I asked what was the procedure;

 5   sorry.                                                                          5   I would like to have a redacted copy.

 6   A.   That's all right.                                                          6        And at that time I was told it would cost me 50 cents a

 7                THE COURT:    Go ahead.                                            7   page, which would have been something in the neighborhood of

 8   BY MS. McDANALD:                                                                8   $14,000 and several days for them to have prepared those.          And

 9   Q.   To keep it tight and narrow then, we will just -- I would                  9   so there was -- there was no way to make a quick review.          It

10   just ask have you ever received any poll books, complete or                    10   was going to take several days.

11   incomplete, birth dates or no birth dates, in response to your                 11               THE COURT:    Well, if it was $14,000, at 50 cents a

12   request?                                                                       12   page, that's thousands of pages.

13   A.   I did not from Rankin County.        In Hinds County we were              13   A.   Yes, ma'am.

14   allowed to view unredacted original poll books.          And the reason        14               THE COURT:    And a quick review --

15   that seemed important at the time had to do with the currency                  15   A.   It was like 28 --

16   of the voter registration list in that if they had previously                  16               THE COURT:    I don't follow that.    How would you do a

17   voted in the Democratic primary, they are not an eligible voter                17   quick review?

18   in the Republican runoff.        And so in order to protect the                18   A.   Because the poll books -- there's I think 87,000 registered

19   integrity of the election, I was concerned about that issue.                   19   voters in Rankin County.

20   Q.   Thank you.                                                                20               THE COURT:    87,000 --

21                MS. McDANALD:    No further questions.   Pass the                 21   A.   And the poll book has all of those 87,000.

22   witness.                                                                       22               THE COURT:    Right.   Right.

23                THE COURT:    Did you actually ask to see redacted poll           23   A.   Yes.   And so there's like 20 per page, and that works out

24   books from Rankin County?        When they said -- when they said no           24   to, roughly, what, 20 something -- 20 --

25   on unredacted, did you actually ask to see redacted?                           25               THE COURT:    So it was --
                                                                           188                                                                                   195

 1   A.   -- 14,000 pages -- Case 3:14-cv-00532-NFA Document 83-1
                                                              1   Filed THE
                                                                        08/06/14     Page else?
                                                                            COURT: Anything 25 of No.
                                                                                                   34 Okay. Thank you very
 2               THE COURT:    -- the price.   It was --                          2   much.    Oh, anything further?

 3   A.   Yes.                                                                    3                  MS. McDANALD:    No.   I was saying no redirect.

 4               THE COURT:    -- the price that was the problem?                 4                  THE COURT:     Okay.   Thank you.    You may step down.

 5   A.   The price was very prohibitive.      And at the time we were --         5                  MS. McDANALD:    Plaintiffs would like to call Ellen

 6   working on the information that we had just as laymen, we                    6   Swensen, but I believe she's sitting outside because the rule

 7   thought there was greater urgency to look at them sooner.                    7   has been invoked.

 8   There had been allegations floating around about tampering,                  8                  THE COURT:     Well, you've got a lot of people with you.

 9   about all kinds of issues.        And so the quicker we get in, the          9   Maybe they could help you out.             Who's your next witness going

10   better.                                                                     10   to be?        Because you can assign -- you're in charge.        You can

11               THE COURT:    Okay.   Thank you.    Cross.                      11   assign any one of those gentlemen to go get the next witness

12               MR. SLAY:    Your Honor, this is Craig Slay, Rankin             12   when you want.        Okay?    Use this authority when you have it.

13   County election commission.       Just a couple of quick questions,         13                  MS. McDANALD:    Well, now we're just going to have one

14   if I may.                                                                   14   more, but -- and she's awfully close.              She's only on the second

15                               CROSS-EXAMINATION                               15   row.     But I'm going to have to ask one of the partners to do

16   BY MR. SLAY:                                                                16   that for me.

17   Q.   Mr. Nicholson, you mentioned that you went to see Ms. Becky            17                  THE COURT:     We'll see.   Okay.    Thank you.

18   Boyd, the circuit clerk for Rankin County.         Is that correct?         18                  MS. McDANALD:    That was great.

19   A.   Yes, we did.                                                           19          (WITNESS SWORN)

20   Q.   What day did you do that?                                              20                  THE COURT:     Please be seated.     And once you're

21   A.   That was June 27th.                                                    21   comfortable, pull up the chair close to the mic.             Then state

22   Q.   I'm sorry?                                                             22   and spell your whole name for the record, please.

23   A.   June 27th.                                                             23                  THE WITNESS:    Ellen Swensen.      And it's E-L-L-E-N,

24   Q.   June 27th.     All right.    So three days after the runoff            24   S-W-E-N-S-E-N.

25   election.                                                                   25                  THE COURT:     Okay.   Thank you.    You may continue.

                                                                           196                                                                                   197

 1                                ELLEN SWENSEN,                                  1   Vote?

 2   having first been duly sworn, testified as follows:                          2   A.     Yes.    I was previously here between July 5th and 10th.

 3                              DIRECT EXAMINATION                                3   Q.     Okay.     And why did you come?

 4   BY MS. McDANALD:                                                             4   A.     I came to -- as a volunteer.         They asked me to come to

 5   Q.   Hey, Ellen.                                                             5   assist in reviewing and acquiring publicly available documents

 6   A.   Hi.                                                                     6   to help -- or that -- to give my findings to True the Vote so

 7   Q.   Are you a resident of Mississippi?                                      7   they could do their job of assuring whether or not this

 8   A.   No, I'm not.                                                            8   election had integrity.

 9   Q.   And where do you live?                                                  9   Q.     Was it just you by yourself or were you with a group?

10   A.   California.                                                            10   A.     I came -- I came with a group of people from around the

11   Q.   And I understand you're recently retired.                              11   country, and I was with a colleague named Susan Morse.

12   A.   Yes.                                                                   12   Q.     Okay.     And were you trained by True the Vote once you

13   Q.   Congratulations.     What did you used to do?                          13   landed in Mississippi?

14   A.   I spent many years of my career working in market research.            14   A.     Yes.    We met.      And they, first of all, had to take us

15   And what I did was analyze complex sets of data and -- looking              15   through how Mississippi elections work, because every state is

16   for anomalies and patterns in the data, and took those findings             16   different and we were people from around the country.             And then

17   and created strategic direction for my clients' businesses.                 17   we also focused on how the absentee ballot application process

18   Q.   And are you a volunteer now for True the Vote?                         18   works.

19   A.   Yes, I am.                                                             19          And then we were given the memo from True the Vote Attorney

20   Q.   And you were able then -- sorry.      Are you a registered             20   Hogue that gave us what our authority was to request these

21   voter in Mississippi?                                                       21   documents based on the National Voter Registration Act.               We

22   A.   No, I'm not.                                                           22   were given what -- the list of all the documents we wanted to

23   Q.   So you did not recently vote in the Republican primary.                23   acquire and a blank incident form -- incident report forms, as

24   A.   No.                                                                    24   well as a list of counties that we were assigned to.

25   Q.   Have you been, though, to Mississippi on behalf of True the            25   Q.     And with the incident --
                                                                              198                                                                                199

 1                 THE COURT:Case
                              Would 3:14-cv-00532-NFA
                                     you -- forgive me. Document 83-1
                                                                  1     Filed
                                                                      turn     08/06/14
                                                                           the screen on? Page 26 of 34
 2                 MS. McDANALD:    Sure.                                            2                THE COURT:    Just press the green button.

 3                 THE COURT:    Would you go through exactly what you were          3                MR. ROBINSON:   It's on.

 4   given again.                                                                    4                MS. McDANALD:   Oh, great.      Thank you.

 5   A.    Okay.    Sorry.      We were given and shown examples of how              5   BY MS. McDANALD:

 6   Mississippi elections work, because every state is different.                   6   Q.   Is this an example of a True the Vote incident report?

 7   And, specifically, we looked at the absentee ballot application                 7   A.   Yes.

 8   and how it's supposed to be filled out and so on.             And then we       8   Q.   Okay.    And under the name right there, is that --

 9   were given the -- a memo from Eades Hogue, and it was -- he's                   9                THE COURT:    Excuse me.   For the record, what are you

10   the True the Vote attorney.         And the memo cited our authority           10   showing her?

11   to request these documents.         It had a quote on it, and I can't          11                MS. McDANALD:   Oh, sorry.      This is Plaintiffs'

12   recall the exact -- it's probably in the records, but it quoted                12   premarked Exhibit 5.       I would offer it into evidence as a True

13   the NVRA statute that allows us to acquire these public                        13   the Vote incident report authored by Ellen Swensen, our

14   documents.                                                                     14   witness.

15         We were given blank incident report forms and a list of the              15                THE COURT:    Incident report authored by Ms. Swensen?

16   documents that we were to review and procure.             And, finally, we     16   Okay.    Objections?

17   were given a list of our counties that we individually were                    17                MR. WEBB:    Yes, your Honor.    If I could, Jeff Webb,

18   assigned to.                                                                   18   Leake County --

19                 THE COURT:    Thank you.                                         19                THE COURT:    Speak up.

20   BY MS. McDANALD:                                                               20                MR. WEBB:    Jeff Webb, Leake County Election

21   Q.    And which counties were you assigned to?                                 21   Commission.     Your Honor, we would object to this document.

22   A.    I was -- Susan Morse and I were assigned to Leake, Jones                 22   It's signed by someone other than Ms. Swensen, the witness.

23   and Covington.                                                                 23   Also contains hearsay statements as their recollection of

24   Q.    Okay.                                                                    24   statements made by the circuit clerk, who is not a party to

25                 MS. McDANALD:    And, Keithfer, I'm sorry.      How do I         25   this suit but is within the subpoena power of this court and

                                                                              200                                                                                201

 1   has not been subpoenaed to come here today.              So we would object     1   it open right here in front of me.

 2   to it as hearsay.                                                               2   A.   Yes, I did.

 3                 THE COURT:    Okay.   What's the author?                          3                THE COURT:    All right.   Do you -- when was the

 4                 MS. McDANALD:    In response to the hearsay objection,            4   document actually written?

 5   this is not only a business record, not only is the witness who                 5   A.   Immediately after we stepped out of the circuit clerk's

 6   offered the record on the stand, but it is also a present-sense                 6   office.

 7   impression.      I will offer evidence that it was recorded at or               7                THE COURT:    All right.   I'll receive it as

 8   near the time of the events that occurred.                                      8   present-sense impression, and I'm also receiving it as a -- to

 9                 THE COURT:    Who wrote it?                                       9   the extent it is the incident report and not the statements

10   BY MS. McDANALD:                                                               10   within it, it's received as a business record.            However, that

11   Q.    Ellen Swensen, did you write this document?                              11   does not get you over the hearsay within hearsay, which I'm

12   A.    Yes, I did.                                                              12   going on the present-sense impression.

13   Q.    And I see that it is signed by Susan Morse who you said was              13                For the record, it is the impression of this witness,

14   with you.                                                                      14   not necessarily the truth.        You are more than welcome to

15   A.    In addition to my signature.                                             15   cross-examine.      And, by the way, this is a preliminary

16   Q.    Did you see her -- did you see her sign it?                              16   injunction hearing, and the rules of evidence do not apply.

17   A.    I did.                                                                   17   But in good faith, I'm trying to --

18                 MS. McDANALD:    In fact, a lot of affidavits are signed         18                MR. WEBB:    Judge, last time -- and I may have

19   by a notary public, and that does not make them hearsay by                     19   overlooked it, but I did not see where Ms. Swensen signed the

20   having the additional signature.                                               20   document.

21                 THE COURT:    The fact that they're under oath does not          21                THE COURT:    I was turning to that myself.     Let's see

22   get them out of the hearsay exception.           But I will allow them         22   if we can get to that.       Thank you.      Where is your signature,

23   in.    Did you write this document?         I think --                         23   ma'am?

24   A.    Yes, I did.    That's my handwriting.                                    24   A.   I think it's on the signature line, second page.

25                 THE COURT:    Okay.   And did you sign it?      I don't have     25                THE COURT:    You need to zoom in.
                                                                                    202                                                                                 203

 1                         Case 3:14-cv-00532-NFA Document 83-1
          (COMPLIED WITH REQUEST)                           1     Filed
                                                                not one of08/06/14     Page 27 of 34
                                                                           the defendants.

 2                THE COURT:     Can you see it now, Ms. Swensen?                          2             THE COURT:    Not one of the defendants.       Thank you.

 3   A.   Yes.    Yes, that's my signature.                                                3   Nevertheless, I'm going to receive it because of the statewide

 4                THE COURT:     Okay.   Great.     It's signed then.   Who                4   aspect of this.    Go ahead.

 5   wrote the attachment?                                                                 5   BY MS. McDANALD:

 6   A.   I did, ma'am.                                                                    6   Q.   Where did you go in order to make a records request in

 7                THE COURT:     Thank you.                                                7   Covington County?

 8   BY MS. McDANALD:                                                                      8   A.   We went into the circuit clerk's office.

 9   Q.   I'm guessing you wrote it in the attachment because there                        9   Q.   And how did you make this request?        Was it written or oral?

10   wasn't enough room in the box?                                                       10   A.   We started with oral, but then we ended up per

11   A.   Yes.    There wasn't enough room in the way the form was                        11   Ms. Duckworth's request putting it in writing.

12   made.                                                                                12   Q.   And, sorry, you said Ms. Duckworth?

13   Q.   You stated that you visited Covington, Jones and was it                         13   A.   Yes, in Covington County.      Yes.    Sorry.   She's the circuit

14   Leake County?                                                                        14   clerk.

15   A.   Leake.                                                                          15   Q.   Thank you.    And what specifically did you request as far as

16   Q.   Okay.    Did you request records from Covington County?                         16   documents?

17   A.   Yes, we did.     I'm trying to remember --                                      17   A.   We requested three things.      One was an electronic file with

18                MR. SANDERS:    Object, relevancy.                                      18   the -- a list of everybody who voted in the Democrat primary

19   A.   Yes, we did.                                                                    19   and Democratic runoff, as well as the Republican primary and

20                THE COURT:     Counsel, for some reason -- and I                        20   Republican runoff in June.      Cut by precinct and then cut by

21   apologize for this -- we don't have enough microphones in here                       21   absentee versus polling place votes.        And we requested that

22   for the defense side.        Maybe the next time if we're ever back                  22   electronically.

23   here we will have more mics.                                                         23        We secondly requested to review the poll book from

24                MR. SANDERS:    I'm sorry, your Honor.        We just objected          24   June 24th.   And we requested to look at the absentee ballot

25   to relevance about -- anything about Covington County.                  It's         25   envelopes, the absentee ballot applications and the absentee

                                                                                    204                                                                                 205

 1   request forms.                                                                        1   the information, however.      Thank you.    Okay.    Next.

 2   Q.   And were you provided any documents in response to your                          2   BY MS. McDANALD:

 3   request?                                                                              3   Q.   "Next" is a perfect word.      Next, which county did you go to

 4   A.   No, we were not.                                                                 4   next?

 5                THE COURT:     And how many voters are there roughly in                  5   A.   Well, we actually started in Leake County on Monday and

 6   Covington County?                                                                     6   so -- and then Covington was our last county.         So Jones was

 7   A.   I do not know.                                                                   7   before that on the same day.

 8                THE COURT:     You don't know.     Who knows.                            8   Q.   And I apologize --

 9   A.   I don't know, your Honor.                                                        9             THE COURT:   I'm sorry.    I may have stepped on your

10                THE COURT:     Roughly.     10?   200,000?   Nobody knows?              10   questions, but what happened?

11                MR. WALLACE:    Voters or poll books, your Honor?                       11             MS. McDANALD:   Oh, with the Covington County, she said

12                THE COURT:     Eligible voters.                                         12   that she requested records and that she was denied.

13                MR. WALLACE:    Your Honor, I don't know.         But a number          13             THE COURT:   I'll let -- thank you.        I'll let the

14   of people who voted are in the record.               The certification               14   witness tell me.

15   letter is attached as an exhibit to our response to the TRO                          15             MS. McDANALD:   Sorry, your Honor.

16   motion, and that's got each of the 82 counties, how many people                      16             THE COURT:   Because I gathered there was more to it

17   voted.                                                                               17   than that.

18                THE COURT:     Okay.   Well, that wasn't what I asked,                  18   A.   As I said earlier, we did request it verbally.           Then she

19   because she asked for poll books.                                                    19   asked us to put it in writing.      And she -- Ms. Duckworth, the

20                MR. WALLACE:    I understand.                                           20   circuit clerk, said that she was too busy to deal with it that

21                THE COURT:     She asked for applications.        So I'm                21   day because she was leaving the next day for a convention, and

22   gathering that's a very large number of documents.              That's why           22   we couldn't -- we could come back Monday and then she could

23   I was asking about the number of eligible voters in that                             23   address the whole thing then.

24   county.      Anyway, does anybody know?        No?    Okay.   But we can             24             THE COURT:   Okay.   So did you ever put it in writing?

25   look up the voters, but that's not what I asked.               I appreciate          25   A.   Yes, we did, and we left that with Ms. Duckworth.
                                                                               206                                                                                     207

 1                THE COURT:  Case
                               Okay. 3:14-cv-00532-NFA
                                      Thank you.       Document 83-1
                                                                 1     Filed
                                                                     enter    08/06/14
                                                                           my same          Page
                                                                                   objections      28Leake
                                                                                              for the of 34County ones. And I

 2                MS. McDANALD:    And this is not an item that was                    2   don't believe -- I don't believe she signed the Leake County

 3   included as an exhibit on our exhibits list.             This is a Leake          3   ones, unless I overlooked it.             But just for the record, thank

 4   County request.     If I put it up here, is that okay?             Everybody      4   you.

 5   can see it on the screen?                                                         5                  THE COURT:    Okay.     Well, she was testifying about Lee

 6                THE COURT:     All right.    What number?                            6   County and then Exhibit 5 was introduced.            But it looks like

 7                MS. McDANALD:    This would then be Plaintiffs'                      7   Exhibit 5 may be the Covington County -- or Lee?               Which one?

 8   Exhibit 10 I think.                                                               8   It was Covington.           I can see it on its face.

 9                THE COURT:     All right.                                            9   A.     I was testifying about Covington.

10                MS. McDANALD:    Exhibit 10.                                        10                  THE COURT:    Fair enough.    Then 10 is Lee.

11                THE COURT:     Was there an exhibit that I missed on the            11                  MS. McDANALD:    Yes.

12   Covington County?         I don't think it was introduced if it was --           12                  THE COURT REPORTER:      Is it Leake or Lee?

13                STAFF ATTORNEY:        That's 5.                                    13                  MS. McDANALD:    Leake, L-E-A-K-E.

14                THE COURT:     5 is --                                              14                  THE COURT:    Oh.     Thank you.

15                MS. McDANALD:    Covington.                                         15   BY MS. McDANALD:

16                THE COURT:     Okay.     What about Lee?    Is there an             16   Q.     Did you make a records request to Leake County?

17   exhibit on Lee?                                                                  17   A.     Yes, we did.    We verbally requested the same list.         I can

18                MS. McDANALD:    It would be Exhibit 10.       It wasn't            18   go over it again if you'd like.

19   included in the exhibit list.                                                    19   Q.     Oh, I think that we probably -- the record should be fine

20                MR. WEBB:    Your Honor, I believe I objected to the                20   on the list.        But where did you go to make the request?

21   wrong.                                                                           21   A.     Went to the circuit clerk -- circuit court clerk's office

22                THE COURT:     Yeah.     I'm sorry.   I'm confused.    That's       22   in Leake County.

23   what's confusing me too.            I'm keeping notes, and I was                 23   Q.     And who did you speak there with?

24   confused.                                                                        24   A.     Kathy Henderson, the circuit clerk.

25                MR. WEBB:    I thought it was Leake, but I would just               25   Q.     And did you make the request for the documents being the

                                                                               208                                                                                     209

 1   same documents that you requested in Covington?                                   1   Q.     How many deputy clerks did you speak with?

 2   A.   Yes, we did.        We did it verbally and then she asked us to              2   A.     We spoke with the one deputy, and then Susan Morse asked if

 3   put it in writing.                                                                3   there was an election commissioner there, perhaps we could get

 4   Q.   And did you receive any documents in response to your                        4   some authority from them.            Two people came out, and their names

 5   request?                                                                          5   are in the record.          And both of them said they did not have the

 6   A.   No, we did not.                                                              6   authority.       Only Bart Gavin had the authority to grant any of

 7   Q.   You stated that you also visited Jones County.                               7   this that we had asked for.

 8   A.   Jones County.                                                                8   Q.     Okay.    Have you ever received any records in response to

 9   Q.   And I'm going to put the incident report marked Exhibit 4                    9   your request from Jones County?

10   for Jones County.         Where did you go in order to request records           10   A.     No, we have not.

11   from Jones County?                                                               11   Q.     Thank you.

12   A.   To the circuit court clerk in Laurel.                                       12                  MS. McDANALD:    The plaintiffs would like to offer

13   Q.   And who did you speak with there?                                           13   Exhibit Number 4 into evidence.

14   A.   The deputy circuit clerk.           I believe her name was Helen.       I   14                  THE COURT:    Received under the same principles as

15   can't remember right now, but it was a deputy clerk.                             15   articulated earlier.

16   Q.   Okay.    And did you make the record request verbally or in                 16          (EXHIBIT P-4 MARKED)

17   writing?                                                                         17                  MS. McDANALD:    Sure.     And I'm not sure I exactly

18   A.   Verbally at first and then in writing.                                      18   offered --

19   Q.   And what was the response to your request?                                  19                  THE COURT:    You didn't.    Let me just --

20   A.   This deputy said that the circuit clerk was out on a                        20                  MS. McDANALD:    -- Exhibit 10.

21   capital murder case in a different county and would not be back                  21                  THE COURT:    I've made an assumption here.

22   until possibly the next day.           And then nobody in the office had         22   Ms. Swensen, did you write -- or Swanson.            I'm sorry.    Did you

23   any authority, even though they're all deputies, to give us --                   23   write the reports for these other counties, Leake and Jones?

24   to grant us any authority to acquire the documents we wanted to                  24   A.     Yes.    I wrote all the reports I've seen on the screen

25   acquire.                                                                         25   today.
                                                                               210                                                                                211

 1                          Case
                   THE COURT:Okay. 3:14-cv-00532-NFA
                                    Thank you.       Document 83-1
                                                               1     Filed 08/06/14
                                                                   reporting              Pageeverything
                                                                             back and recording 29 of 34-- writing everything
 2         (EXHIBIT P-10 MARKED)                                                      2   we had and then giving that back to True the Vote.

 3                 MS. McDANALD:    And 4 and 5 were received as well?                3   Q.   And I just want to bring this up in a slightly leading

 4                 THE COURT:     Yes.                                                4   question.     I apologize.         But you had told me that there was an

 5         (EXHIBIT P-5 MARKED)                                                       5   app that you put on your phone?

 6                 THE COURT:     Are you giving copies out to everybody of           6   A.   Oh, yeah.    That was part of -- I assume to be part of the

 7   10?                                                                              7   transmission of the data.           When we go out in a waiting area,

 8                 MS. McDANALD:    I don't actually have copies with me              8   right immediately after the incident I'd write everything out

 9   for everyone on 10, but I can show everyone.                                     9   exactly as it happened.            And then I would -- we have a

10                 THE COURT:     We'll make copies for everybody at the end         10   TurboScan app on my phone.

11   of the hearing.                                                                 11        And so we would scan the documents by photographing them

12                 MS. McDANALD:    Certainly.       And I think -- I think we       12   with the phone and then e-mail them to Vicki Pullen who is with

13   fully intend -- there was a request from defendants that we                     13   True the Vote.     And so they were immediately -- they were all

14   would produce all of our True the Vote incident reports, and we                 14   relayed in realtime.        Then when we returned that evening from

15   were happy to disclose them all.                                                15   all our counties, we would give the originals over to Vicki

16                 THE COURT:     That's fine, but they're not all being             16   Pullen.

17   received in evidence today, and just remember 10 is.             And I'd        17   Q.   Thank you.

18   love that, and the court reporter needs it too.             So we'll get        18                MS. McDANALD:    Pass the witness.

19   that at the end of the hearing.                                                 19                THE COURT:     I think this is implicit, but just in

20                 MS. McDANALD:    Okay.                                            20   case, in Leake County you left a letter.            And did you ever

21   BY MS. McDANALD:                                                                21   receive any documents?

22   Q.    Did you have any other responsibilities on behalf of True                 22   A.   From Leake County we have not received any documents.

23   the Vote during this visit that you made during the July dates                  23                THE COURT:     And did anyone ask you to pay money to

24   you disclosed?                                                                  24   redact?

25   A.    No.     It was basically going to the three counties and then             25   A.   We --

                                                                               212                                                                                241

 1                 THE COURT:     That you would get the documents if you             1                MR. SANDERS:     Oh, okay.

 2   paid a fee of some sort?                                                         2                THE COURT:     -- I have the cover letter.

 3   A.    No.     When we requested the poll books, Ms. Henderson came               3                MR. SANDERS:     But the memorandum is just one page.

 4   back and said that they would have to be redacted.             I cited the       4   Right?

 5   NVRA, that we don't believe it does have to be redacted and we                   5                THE COURT:     Yes.

 6   do not want to pay money for it.             She went back to the Attorney       6                MS. McDANALD:    I'm happy to admit it all.

 7   General -- you know, phoned the Attorney General's Office again                  7                MR. WALLACE:     What's the question?

 8   and came back and said, Sorry.              They have to be redacted.            8                THE COURT:     No.     For the purposes of the questioning,

 9   BY MS. McDANALD:                                                                 9   it was one page, and that's what I'm going to receive.             That's

10   Q.    And sorry, if I may, what was the estimated cost of the                   10   the only relevance.         The rest of it isn't, at least at this

11   redaction?                                                                      11   point.    The foundation was laid on the second page.

12   A.    The redaction, we never got a quote because I said that we                12                MS. McDANALD:    Right.

13   weren't going to -- we didn't want -- did not want to have them                 13                THE COURT:     So that's what I'm receiving.    All right.

14   redacted.                                                                       14   Anything further for this witness?            Plaintiff?

15   Q.    Did any other counties, Jones or Covington, in addition to                15                MS. McDANALD:    Brief redirect.

16   Leake, give you a quote for how much the redaction would be?                    16                               REDIRECT EXAMINATION

17   A.    No.     I never got a quote for redaction.                                17   BY MS. McDANALD:

18   Q.    Okay.                                                                     18   Q.   Earlier you testified that there was a $100 charge for a CD

19                 THE COURT:     Thank you.     Any questions for defense?          19   of voter registering information from Leake County.           Why did

20                 MR. MATHENY:     A few questions from the Secretary of            20   that seem high to you?

21   State, your Honor.         If I may, could I see --                             21   A.   I work in California, as you know, in the election area.

22                 THE COURT:     Do you want to see that document?                  22   We recently purchased, for example, 18 million voting records,

23                 MR. MATHENY:     Yes.                                             23   which is the entire state of California, with expanded database

24                 THE COURT:     To the extent -- you know, he's looking at         24   and with voting history on a disk for $30.

25   that document longingly.            Okay.   We could make a copy if you         25   Q.   And I believe there are not 18 million residents in
                                                                            242                                                                                243

 1   Mississippi.         Case 3:14-cv-00532-NFA Document 83-1
                                                           1   Filed THE
                                                                     08/06/14
                                                                         COURT: I Page   30 know
                                                                                  don't even of 34
                                                                                                 what the lady is going

 2   A.   Not in Leake County.                                                     2   to testify about.         What's your objection?   If you'd restate

 3   Q.   And not in Leake County.                                                 3   that objection.

 4   A.   No.                                                                      4                MR. SANDERS:    Her declaration that we received

 5   Q.   Also on cross-examination you testified how you were told                5   indicates she wants to talk about events in Tunica County, a

 6   on a Tuesday to come back on Monday by Covington County Circuit               6   nondefendant here, a nonparty.           So we object to that.

 7   Clerk.                                                                        7                THE COURT:     Okay.   Yeah.   I'm going to allow her to

 8   A.   Yes.                                                                     8   testify to the extent she asked for documents.

 9   Q.   Did you also tell the circuit clerk that you live in                     9        (WITNESS SWORN)

10   California?                                                                  10                THE COURT:     Please be seated.    Would you state and

11   A.   Yes.   When we introduced ourselves, we told her we were                11   spell your whole name for the record, please.

12   from California.                                                             12                THE WITNESS:    Julie Patrick, J-U-L-I-E, P-A-T-R-I-C-K.

13               MS. McDANALD:    No further questions.                           13                THE COURT:     Thank you.   You may proceed.

14               THE COURT:     Okay.   Anything further?   Okay.   Thank         14                                  JULIE PATRICK,

15   you, ma'am.    You may step down.                                            15   having first been duly sworn, testified as follows:

16   A.   Thank you, your Honor.                                                  16                                DIRECT EXAMINATION

17               MS. McDANALD:    Plaintiffs would like to call Julie             17   BY MS. McDANALD:

18   Patrick.                                                                     18   Q.   Julie, are you a resident of Mississippi?

19               MR. SANDERS:    And, your Honor, I understand the                19   A.   Yes, I am.

20   court's previous rulings on this issue, but the declaration                  20                THE COURT:     We're trying to go by last names, please.

21   Ms. Patrick has given indicates she wants to talk about Tunica               21   BY MS. McDANALD:

22   County.     Just for the record, we would object to that.                    22   Q.   Ms. Patrick, are you a registered voter?

23               THE COURT:     Forgive me.                                       23   A.   Yes, I am.

24               MR. SANDERS:    I appreciate the court's ruling on this          24   Q.   How long have you been a registered voter in Mississippi?

25   issue --                                                                     25   A.   I became a resident and a voter of Mississippi in September

                                                                            244                                                                                245

 1   of 1996.                                                                      1   A.   It's a party role.

 2   Q.   And what county in Mississippi do you live?                              2   Q.   Okay.    Have you voted in any elections recently?

 3   A.   I live in Marshall County.                                               3   A.   Yes, I have.

 4   Q.   And as a resident of Marshall County, do you serve on any                4   Q.   And what election would that be?

 5   executive committees of Marshall County?                                      5   A.   That would be the most recent, June 3rd primary and then

 6   A.   Yes, I do.    I became involved in the Republican Party as an            6   the runoff June 24th.

 7   executive county member at the caucus of 2012.                                7   Q.   And in your role as a member of the Republican Party

 8   Q.   Earlier when Ms. Turner was testifying about executive                   8   Executive Committee for Marshall County, did you have any

 9   committees having a role in elections, did you understand that                9   responsibilities in connection with that election?

10   to -- testimony to be party executive committees?                            10   A.   Yes.    Shortly after --

11   A.   Yes.   I was concerned that -- they were saying that -- that            11   Q.   And what would those be?

12   it was actually the counties that had complete control and that              12   A.   Okay.    Yes.   Shortly after the -- I became a member of the

13   the finger was being pointed back at us at the way that the                  13   executive committee, I was nominated and voted to be the

14   county had run the primary and the runoff election.                          14   chairperson within six months of joining the party as the

15   Q.   But it's not just the Marshall County Executive Committee.              15   executive -- as an executive member.          So --

16   It would be the Marshall County Executive Committee of a                     16   Q.   What year was that?

17   Republican party or a Democratic Party or any other party that               17   A.   That was 2000- -- that was 2012.

18   decided to join the party.         Is that correct?                          18   Q.   Okay.

19   A.   Would you repeat that?                                                  19   A.   Yes.    So I was told that my primary role would be to run

20   Q.   Yes.                                                                    20   the primary.      And so when I was given this duty, I started to

21               THE COURT:     A question, short.                                21   investigate how I was supposed to do this.            And I was told that

22               MS. McDANALD:    Sure.                                           22   we had always signed with the election commissioners a contract

23   BY MS. McDANALD:                                                             23   for them to run it for us.

24   Q.   A county's executive committee, are those related to a                  24   Q.   Okay.    And have you done anything since the election to

25   government role or are they a party role?                                    25   follow up on the election results?
                                                                             249                                                                                    250

 1                         Case
                  THE COURT:     3:14-cv-00532-NFA
                            So let's                         Document 83-1
                                     see if we can get to that         1   A. Filed 08/06/14
                                                                               My response        Page
                                                                                           was that      31 of clerk
                                                                                                    the circuit 34 had been directed by
 2   subject.                                                                       2   the Secretary of State's Office that those would not be made

 3   A.   Okay.                                                                     3   available.

 4   BY MS. McDANALD:                                                               4                 THE COURT:     I'm sorry.   What were you trying to see?

 5   Q.   Outside of your role as a member of the executive committee               5   Poll books?

 6   for Marshall County and just as Ms. Patrick, Ms. Patrick, have                 6   A.     Poll books.

 7   you requested records, either poll books or access to absentee                 7                 THE COURT:     And when was that?

 8   applications or the absentee application envelopes which carry                 8   A.     That was --

 9   the ballot in it, have you requested access to those sort of                   9                 THE COURT:     I know it was --

10   documents and been denied by a county?                                        10   A.     I guess that was June the -- it was the -- I'm trying to

11   A.   Yes, I have.                                                             11   remember.      Was that June -- July the 7th.        That was --

12   Q.   Which county?                                                            12                 THE COURT:     Okay.

13   A.   Both Marshall County after the initial canvassing the vote               13   A.     -- a Monday.

14   and then also in Tunica County.                                               14                 THE COURT:     July 7th was Monday?

15   Q.   Turning to Marshall County, when -- was your request to                  15   A.     Yes.

16   review documents made after the runoff election?                              16                 THE COURT:     Okay.   And you were there in your personal

17   A.   Yes, it was.                                                             17   capacity or your Republican chairman capacity --

18   Q.   Was your request made to the Marshall County Circuit Clerk?              18   A.     I was --

19   A.   Yes, it was.                                                             19                 THE COURT:     -- for Marshall?

20   Q.   Was your request made in writing --                                      20   A.     I was actually there for the ballot box review.

21                THE COURT:     Let's split that.    Let's -- non-leading.        21                 THE COURT:     Which was the campaign.

22   BY MS. McDANALD:                                                              22   A.     Yes.

23   Q.   Was your request made in writing or was it verbal?                       23                 THE COURT:     Okay.   Thank you.    This is on Monday, the

24   A.   It was verbal.                                                           24   7th.

25   Q.   What response did you receive?                                           25   A.     Yes.

                                                                             254                                                                                    255

 1   Q.   Sure.    But Tunica County just flat refused your request to              1   quit.    If you have something more pertinent, you may proceed.

 2   review the poll books?                                                         2                 MS. McDANALD:    No, your Honor.     Thank you.

 3   A.   That's correct.                                                           3                 THE COURT:     Thank you.   Anybody have anything else?

 4   Q.   So you were not told to come back to Tunica County to                     4   Okay.    Thank you all.       Ma'am, you're excused.     Anything further

 5   request them again.                                                            5   from plaintiffs?

 6   A.   No, I was not.                                                            6                 MR. NIXON:     We have no other witnesses, your Honor,

 7                MS. McDANALD:    No further questions.    Pass the                7   for you today.

 8   witness.                                                                       8                 THE COURT:     Okay.   Thank you.    So the plaintiffs rest,

 9                THE COURT:     Okay.   Who's going to cross?                      9   I take it.

10                MR. WALLACE:    I have a quick question, your Honor.             10                 MR. NIXON:     Yes, your Honor.     Thank you.

11                                CROSS-EXAMINATION                                11                                  PLAINTIFF RESTS

12   BY MR. WALLACE:                                                               12                 THE COURT:     Defense witnesses, other evidence?

13   Q.   The court asked you in what capacity you went to these                   13                 MR. PIZZETTA:    Your Honor, we're not going to call our

14   counties.     I'm going to read to you from Section 23-15-911 of              14   witness.      We think Ms. Turner answered the questions on --

15   the Mississippi Code, which says that "After the election, any                15                 THE COURT:     Okay.   Counties, any other witnesses?         No?

16   candidate or his representative authorized in writing by him                  16   I'm seeing all the heads shaking left to right.                Republican

17   shall have the right of full examination of ballot box."              When    17   Party?

18   you went to Marshall County, were you a representative                        18                 MR. WALLACE:    The Party has no witnesses, your Honor.

19   authorized in writing by Senator McDaniel?                                    19                 THE COURT:     Okay.   Then the hearing record is closed.

20   A.   Yes, I was.                                                              20   I don't believe there are any documents that we're owed as

21   Q.   And were you acting in that same capacity when you went to               21   exhibits.      I know I did leave open the question of the bill of

22   Tunica county?                                                                22   particulars; and in light of what I've received so far in

23   A.   Yes, I was.                                                              23   evidence during this hearing, I think that I'm going to sustain

24                MR. WALLACE:    No further questions, your Honor.                24   the objection as to lack of foundation on the documents in the

25                THE COURT:     Anything further?    I think you better           25   bill of particulars that was not -- to the extent those
       Case 3:14-cv-00532-NFA Document 83-1 Filed 08/06/14 Page 32 of 34




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION

True the Vote, Jane Coln, Brandie Correro,        §
Chad Higdon, Jennifer Higdon, Gene                §
Hopkins, Frederick Lee Jenkins, Mary              §
Jenkins, Tavish Kelly, Donna Knezevich,           §
Joseph Knezevich, Doris Lee, Lauren Lynch,        §
Norma Mackey, Roy Nicholson, Mark                 §
Patrick, Julie Patrick, Paul Patrick, David       §
Philley, Grant Sowell, Sybil Tribble, Laura       §
VanOverschelde, and Elaine Vechorik               §
      Plaintiffs,                                 §
                                                  §     Cause No. 3:14-cv-00532-HTW-LRA
v.
                                                  §
The Honorable Delbert Hosemann, in his            §
official capacity as Secretary of State for the   §
State of Mississippi, The Republican Party of     §
Mississippi, Copiah County, Mississippi           §
Election Commission, Hinds County,                §
Mississippi Election Commission, Jefferson        §
Davis County, Mississippi Election                §
Commission, Lauderdale County, Mississippi        §
Election Commission, Leake County,                §
Mississippi Election Commission, Madison          §
County, Mississippi Election Commission,          §
Rankin County, Mississippi Election               §
Commission, Simpson County, Mississippi           §
Election Commission, and Yazoo County,            §
Mississippi Election Commission                   §
                                                  §
      Defendants.




                                       DECLARATION

                                                      By: Catherine Engelbrecht




                                                                                  EXHIBIT 2
     Case 3:14-cv-00532-NFA Document 83-1 Filed 08/06/14 Page 33 of 34




1.   I, Catherine Engelbrecht, verify under penalty of perjury under the laws of the
     United States of America that the following is true and correct. See 28 U.S.C. §
     1746.

2.   I am the founder and President of True the Vote. True the Vote is a non-profit
     organization that monitors elections for compliance with state and federal law and
     identifies instances of voting irregularities, including the failure of election
     officials to verify the identity of voters and the failure of election officials to
     disqualify ineligible voters from voting in both Republican and Democratic
     primaries. It trains volunteers to conduct these activities.

3.   As part of its mission to protect electoral integrity, True the Vote examines official
     lists of eligible voters and other voter registration data to verify their accuracy and
     currency. Its purpose in undertaking these efforts is to protect the integrity of the
     electoral process and to ensure that accurate and current voter rolls are maintained
     by each state.

4.   In the days immediately preceding the June 24 Republican Primary Run-Off
     Election, I requested access to voting records from Hinds and Rankin County on
     behalf of True the Vote. The purpose of my request was to protect the integrity of
     the electoral process by investigating claims of potential irregularities in the lead-
     up to the Primary Run-Off Election.

5.   I made a request at the Hinds County circuit clerk’s office on June 23, 2014 for
     absentee ballot applications and envelopes.

6.   I made an oral request to inspect absentee ballot applications and envelopes in the
     Hinds County Circuit Clerk office. I was unable to inspect and copy the records I
     requested.

7.   I made a request at the Rankin County circuit clerk’s office on June 23, 2014 for
     absentee ballot applications and envelopes.

8.   I made an oral request to inspect absentee ballot applications and envelopes from
     Becky Boyd, the Rankin County Circuit Clerk. I was unable to inspect and copy
     the records I requested.

9.    I am a custodian of certain records of True the Vote in my role as President.
     Offered in connection with this Declaration are business records from True the
     Vote relating to its efforts requesting records from various Mississippi Counties
     regarding the 2014 Republican Primary Run-Off Election. These Records are kept
     by True the Vote in the regular course of business, and it was the regular course of
     business of True the Vote for an employee, volunteer or representative of it with
       Case 3:14-cv-00532-NFA Document 83-1 Filed 08/06/14 Page 34 of 34




      knowledge of the act, event, condition, opinion, or diagnosis recorded to make
      each Record or to transmit the information to be included in each such Record, and
      each Record was made at or near the time or reasonably soon thereafter. The
      Records are the original or exact duplicates of the originals.

10.    Further, declarant sayeth not.

Signed on this the _5th_ day of August, 2014.


                                                _____________________________
                                                Catherine Engelbrecht




2022239v.1 IMANAGE 107308
